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                                                                                                            DEFENDANT'S
                                                                                                              EXHIBIT
                                UNITED STATES DISTRICT COURT                                                       12
                                SOUTHERN DISTRICT OF FLORIDA
                                  CASE No. 11-80205-CR-MARRA

   UNITED STATES OF AMERICA,

   vs.

   MITCHELL J. STEIN,

           Defendant.                                      /


         EXPERT REPORT OF JAMES WES CHRISTIAN, JD AND ATTORNEY AT LAW

   I.      Introduction

           A.    Summary of Conclusions

           1.    During the Relevant Time Period (as hereinafter defined), there was large-scale
                 “naked short selling”—an illegal form of market manipulation 1—of the stock of
                 Signalife (“SGN”) which was a substantial cause of the drop in SGN’s stock price.

           2.    Evidence of manipulative naked short selling can be seen in the substantial number
                 of “Fails to Deliver” reported of SGN’s stock. 2 During the Relevant Time Period,
                 the number of Fails to Deliver regularly averaged over 40% of the stock’s entire
                 trading volume; and in many cases, were a substantially higher percentage.
                 Moreover, the high number of Fails to Deliver could not have been a result of
                 normal short selling activity, as SGN routinely had reported Fails to Deliver far in
                 excess of its reported short interest (Fails to Deliver reaching as high as 416% of

           1
                 Long sales are sales where a seller delivers securities the seller actually owns to a buyer. Short sales
                 are sales where the seller offers for sale a security which they do not own. The SEC requires short
                 sellers to have a “locate” for the security (typically by borrowing the shares from their broker) so
                 that the transaction will actually be completed on the closing date and the required securities will be
                 delivered to the buyer. “Naked Short Selling” occurs when a person sells a security short without
                 the required locate or borrow, and often with an intent to depress the market price of a security.

           2
                 “Fails to Deliver” or “Fails” occur when the offeror of a security does not deliver promised securities
                 to the buyer by the required closing date. Fails may occur for legitimate reasons in many markets,
                 but significant amounts of long-extended Fails are evidence of a naked short selling scheme to
                 manipulate the market by persons selling short with no intent to cover.

                 Since shares are traded electronically, when an offer to sell securities is accepted by a buyer, the
                 buyer’s account is typically credited with the shares automatically by their broker. However, the
                 buyer’s broker still has an outstanding obligation to retrieve the share from the offeror before the
                 closing date. If the securities are not made available by the closing date, then the offeror “Fails to
                 Deliver” the securities and the securities should be debited from the buyer’s account. However, until
                 the Fail is noticed, the buyer will be debited with shares which do not exist in reality—thus falsely
                 increasing the number of trading shares available.



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                  the short interest). Since reported short interest is a number calculated by the
                  number of broker reported short-sales, the only means by which a company could
                  have Fails to Deliver in excess of a properly recorded short interest is if broker
                  dealers are misreporting short sales as long sales or otherwise creating the
                  appearance that a “long” transaction closed which was in fact an illegal short. Even
                  larger numbers of hidden Fails to Deliver were uncovered after SGN’s 1-4,500
                  reverse share split, as discussed below.

          3.      The exceedingly high number of naked short sales put downward pressure on the
                  price of SGN through: a) artificially increasing the number of shorts which would
                  have otherwise occurred; and b) by artificially increasing the quantity of shares in
                  circulation. Based on simple rules of supply and demand, an increase in the supply
                  of the shares will also push down the price of a company’s securities when such
                  artificial shares are sold, exceeding demand. Dr. Robert Shapiro’s regression
                  analysis confirms this, as it shows a high statistical relevance between the amount
                  of Fails to Deliver and a decrease in SGN’s share price.

          4.      Mitchell Stein could not have foreseen the illegal activity of the manipulators
                  because the manipulators took extensive steps to hide their illegal conduct from the
                  public and regulators. It would be highly unreasonable to expect Mitchell Stein to
                  have expected a large-scale manipulation attack of SGN’s stock by a hidden group
                  of manipulators using sophisticated financial techniques to disguise their conduct.

          5.      Finally, the injection of any information by SGN, positive or negative, would not
                  necessarily have had a direct material impact on the price of the stock of SGN, as
                  the short sale manipulators had a strong-hold on the company. This is substantiated
                  by the prolonged period over which substantial fails persisted and the fails
                  represented a large percentage of daily trading volume. As such, in my opinion, the
                  market manipulation caused by naked short selling was the primary factor in the
                  drop of the price of SGN stock during the Relevant Time Period rather than any
                  market reaction to the alleged misstatements contained within the press releases
                  Mitchell Stein was convicted for circulating.

          B.      Qualifications

          1       My name is James Wesley Christian. I have been engaged by the defendant

   Mitchell J. Stein to provide expert analysis and testimony regarding the adverse impact of certain

   market manipulation tactics which were used by persons other than Stein and which would have

   caused an adverse affect on the securities of Signalife/Heart Tronics (“SGN”).

          2       I received a Bachelor’s degree in Science from West Texas State A&M University

   in 1975, and a Juris Doctorate degree from South Texas College of Law in 1978.



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           3      I am licensed to practice in approximately 14 federal courts across the country,

   including, most recently, the Northern District of California. I have been licensed by the State Bar

   of Texas since 1978 and the State Bar of New York since 2005.

           4      I am the senior partner of the firm Christian Smith & Jewell, LLP (“CSJ”). CSJ

   provides a variety of legal services but one of its primary focuses for the last 17 years has been

   prosecuting (primarily for plaintiffs) issues related to the manipulation of securities of public

   companies by prime brokers, hedge funds, individual traders, analytic firms and other similar

   entities (participating as co-conspirators or otherwise). These cases have been prosecuted under

   both federal and state laws. A substantial majority of these cases dealt with a particular type of

   stock manipulation known as “naked short selling.” 3 A copy of some of the naked short selling

   cases (the “Cases”) we have filed on behalf of our clients is attached hereto as Exhibit “B”.

           5      I have personally worked alongside and coordinated with many expert witnesses

   (both liability and damages experts) in connection with these cases over the last 17 years, including

   Dr. Robert Shapiro (“Dr. Shapiro”). In connection with the Cases and developing the claims, I

   have become intimately familiar with: (a) applicable federal and state securities laws; (b) rules and

   regulations of the Securities and Exchange Commission (the “SEC”); (c) federal and state court

   cases; and (d) enforcement actions by FINRA or the SEC in connection with stock manipulation

   under Exchange Act Rule 10b-5 4 and/or similar federal statutes or corresponding state securities

   laws.


           3
                  In a typical short sale, the short-seller must go out and find corresponding securities of like kind and
                  quantity to the securities he/she wishes to short sale (the locate). This is typically accomplished by
                  receiving a loan of securities from their broker. If, however, a short seller does not find a locate
                  when he/she sells short or have a reasonable basis to believe he/she will be able to provide the
                  securities on the closing date, then he/she is selling the short “naked” and is engaging in
                  counterfeiting of securities.

           4
                  17 C.F.R. § 240.10b-5.



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          6       Further, I have performed due diligence (pre-litigation) on an additional 30 public

   companies to determine what manipulation, if any, occurred with respect to such issuer’s security.

   If it did occur, I would further determine the viability of bringing a case, inclusive of the liability

   and damage facts associated with the same.

          7       Myself, and some of my colleagues, have been in-part responsible for bringing

   awareness to the naked short selling issue and bringing about regulatory change to address naked

   short selling. For example:

          a       In 2003 and 2004, I (along with a consortium of lawyers) joined with the U.S.
                  Chamber of Commerce, certain lobbyists we hired, and Attorney Generals from
                  several states, to collectively make comments to (and confer with) the SEC on
                  provisions within Regulation SHO (“Reg SHO”)—the first major regulation
                  covering short sale practices in over 65 years. This regulation was passed, in large
                  part, due to market worries about manipulative short sale practices such as naked
                  short selling. 5 While Reg SHO did not contain everything we thought would be
                  necessary to eliminate naked short selling, it was an important start. Reg SHO
                  became effective January of 2005.

          b       I co-authored the law review article Naked Short Selling: How Exposed Are
                  Investors?, 43 Hous. L. Rev. 1033 (2006), with Dr. Shapiro.

          c       I have been interviewed, quoted or involved with numerous documentaries, articles,
                  radio appearances and other media regarding the topic of naked short selling. The
                  various groups include but are not limited to: the Economist, Bloomberg, Forbes,
                  and numerous other journalists, radio appearances, and documentaries all
                  surrounding the naked short selling/fail to deliver issues and related topics. A
                  sampling of these appearances is set forth in my CV, attached as Exhibit “A.”

          8       I am being compensated at a rate of $650 per hour for my services subject to a cap

   of $100,000. My compensation in this case is in no way dependent upon the opinions that I render

   or the outcome of the case.



          5
                  Regulation SHO, Exchange Act Release No. 50,103, 69 Fed. Reg. 48,008, 48,008 (Aug. 6, 2004)
                  (codified at 17 C.F.R. §242.200-.203); See Short Sales Concept Release, Exchange Act Release No.
                  42,037, 64 Fed. Reg. 57,996 (Oct. 28, 1999) (noting that when the SEC took comments on short
                  selling reform, it received approximately 2,200 letters or comments from individual investors
                  complaining of abusive short selling practices, including naked short selling).



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          D.      Assignment

          9       I was asked by Mitchell Stein to determine the impact, if any, on the price of the

   securities of SGN due to market manipulation from outside factors for a time period from

   September 1, 2007 through November 2008 (the “Relevant Time Period”). Specifically, I was

   asked to opine on what effect, if any, on the price of SGN’s stock would have resulted from the

   substantial number of Fails to Deliver and naked short selling taking place during the Relevant

   Time Period.

          10      Further, I was asked by Mr. Stein to look at the foreseeability of this illegal

   manipulative conduct in connection with the sales of the common stock of SGN.

          11      In connection with my opinion, I conferred with Dr. Shapiro, who is extremely well

   versed in the area of manipulative short selling and the effect of such short sales on the market and

   on specific securities. Dr. Shapiro holds a Ph.D and M.A. degree from Harvard University and an

   M.Sc. From the London School of Economics, as well as an A.B. from the University of Chicago.

   Dr. Shapiro previously served as Under Secretary of Commerce for Economic Affairs in the

   Clinton Administration. Dr. Shapiro has worked with CSJ on numerous occasions to create market

   studies which establish the effect of certain manipulative acts on the price of a particular security.

   Dr. Shapiro has authored several publications concerning this topic which will be referenced in

   my report and/or his report which is attached hereto as Exhibit “C”.

          12      This report will summarize the testimony I intend to proffer at the re-sentencing

   hearing set for July 19 - 20, 2018 in this matter. Therefore, the observations, conclusions, and

   analysis set forth in this report may also materially change as additional data and information are

   made available and analyzed by myself and/or Dr. Shapiro. In addition, I reserve the right to

   prepare any other demonstrative exhibits using the data I relied upon as stated above in the

   preparation of this report. I reserve the right to offer additional related opinions and to prepare


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   demonstrative exhibits in support of those opinions. I may also prepare additional analyses in

   response to reports and testimony by the experts of the government.

             E.     Materials Relied Upon

             13     The following is a list of the materials I relied upon in the preparation of this Expert

   Report:

             i.     The following publicly available information was used in the analysis:

                    1.     Bloomberg data on stock prices, shares outstanding, and volume of stock
                           traded per day for Signalife;

                    2.     Fails to Deliver published by the SEC bimonthly and found at
                           www.sec.gov;

                    3.     “Threshold lists” published by the Amex Stock Exchange;

                    4.     Bi-monthly data from Compustat (regarding stock prices, volume and short
                           interest); and

                    5.     Data from Yahoo Finance (regarding stock prices, volume and short
                           interest).

             ii.    Counsel for Defendant made the entire record available for my review. I reviewed
                    the following material from that record in my analysis:

                    1.     Blue sheet data;

                    2.     Trial transcripts;

                    3.     Trial exhibits;

                    4.     Case pleadings; and

                    5.     Sentencing memoranda.

             iii.   Report of Dr. Robert Shapiro in this case dated the 6th day of April, 2018 attached
                    as Exhibit “C” and which is incorporated herein by reference.

             iv.    Various rules and regulations of the SEC including, but not limited to, Reg SHO,
                    as set forth in the report.

             v.     Various case law concerning market manipulation and/or domination as set forth in
                    the report.

             vi.    Numerous FINRA and/or SEC enforcement actions discussed in this report.


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           vii.    Various fines issued by FINRA and/or the SEC in connection with violations of
                   Reg SHO as is set forth is this report.

           viii.   Articles published by economists, journalists, and others cited in this report.

           ix.     Reported short interest as published by the Amex Stock Exchange.

   II.     What was the Impact of Naked Short Selling/Fails To Deliver on the Stock Price of
           SGN During the Relevant Time Period?

           A.      Background on short sales/naked short sales.

           14      What is a short sale? A short sale is the sale of the stock that a person does not own

   (which will have to be borrowed or purchased before the delivery date). Generally speaking, short

   sellers believe the price of the stock will fall, or seek to hedge against potential price volatility in

   securities that they own. If the price of the stock drops, short sellers buy the stock at the lower

   price and deliver these share to the buyer. If the short seller is correct, they make a profit between

   the high sale price and the lower, later cover price. If the short sellers are not correct and the stock

   rises, they will incur a loss when they are forced to cover at a higher price than their previous sale.

           15      Typically when you sell short, your brokerage firm loans you the stock necessary

   to complete the transaction. The stock you borrow comes from either the firm’s own inventory,

   the margin account of another brokerage firm’s clients, or another lender. As you will be buying

   the stock on margin, your brokerage firm will charge you interest (sometimes referred to as a

   negative rebate on the loan). Although the vast majority of short sales are legal, manipulative short

   sales do occur and are illegal.

           16      In a naked short sale, the seller does not borrow or arrange to borrow the securities

   in time to make delivery to the buyer within the standard three day settlement. 6 As a result, the

   seller Fails to Deliver the securities to the buyer when delivery is due. This is known as a “Failure



           6
                   The T+3 settlement period was recently reduced to T+2.



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   to Deliver” or a “Fail”. Simple rules of supply and demand dictate that if there is a constant supply

   of short sales without any corresponding limit on the supply (caused by traders short selling

   “naked” or without any corresponding locate or borrow of securities), then the apparent number

   of trading shares will increase and the price will drop.

           17      Aside from the general prohibition on schemes to defraud found in SEC Rule 10b-

   5, Rule 10b-21 specifically provides that it is a manipulative act if a person submits an order to

   sell a security, if at such time the person is being deceitful about their intention or ability to deliver

   the security. 17 C.F.R. § 240.10b-21. Further, it is prohibited for any person to engage in a series

   of transactions in order to create actual or apparent active trading in the security or to depress the

   price of the security for the purposes of inducing the purchase or sale of the security by others.

   Exchange Act Section 9(a)(2) [15 U.S.C. § 78i].

           B.      About Reg SHO.

           18      Reg SHO (17 C.F.R. § 242.200, et seq.) was adopted and began on January 3, 2005

   to update short sale regulation in light of numerous market developments including, but not limited

   to, market manipulation. In addition, it has been adopted to address concerns regarding persistent

   Fails to Deliver which may occur when the closing date for a securities transaction comes and goes

   with the securities never being delivered because the seller never found a locate for the short-sale.

   The SEC amended Reg SHO several times since 2005 to eliminate certain exceptions and

   strengthen certain requirements.

           19      Reg SHO was initially adopted with a grandfather provision and certain market-

   maker provisions, both of which provided certain actors exemptions to many of Reg SHO’s

   requirements—such as the requirement to locate securities before short selling. However, due to

   the continued concerns about Fails to Deliver, and the SEC continuing to observe certain securities

   with failure to deliver positions that were not being closed out under the then-existing


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   requirements, the SEC eliminated the grandfather provision in 2007 and eliminated the option

   market-maker exception in 2008, but retained the bona fide market maker exception. In addition,

   the SEC adopted temporary Rule 204T in 2008 and final Rule 204 in 2009 which further

   strengthened the closeout requirements of Reg SHO—applying closeout requirements to Fails to

   Deliver resulting from sales of all equity securities and reducing the time frame within which Fails

   to Deliver must be closed out.

           20      Finally, in 2010, the SEC adopted Rule 201 of Reg SHO. Rule 201 restricts the

   price at which short sales may be sold when a stock is already experiencing significant downward

   pressure. As such, Rule 201 is designed to prevent short selling from rapidly driving down the

   price of a security that is already experienced a significant price decline.

   III.    Overview of the Basic Rules of Reg SHO Impacting the Opinions herein.

           A.      Rule 200

           21      Rule 200 requires that orders placed by broker dealers must be marked long, short

   or short exempt. 17 C.F.R. § 242.200(g). To be marked long, the seller needs to have (as to all the

   securities being sold) the security in the physical possession of the seller, or reasonably be expected

   to have it within time to deliver. Id. Otherwise, the security must be marked short, or in the event

   the seller is entitled to rely on an exception from the short sales price test circuit breaker provision,

   and can be marked short exempt. Id.

           B.      Rule 203(b)(1)-(2)

           22      Rule 203(b)(1)-(2) is the locate requirement. Reg SHO requires the broker dealer,

   before effecting a short sale order in any equity security, to have reasonable grounds to believe

   that the security can be borrowed so that it can be delivered on the date delivery is due. 17 C.F.R.

   § 242.203(b)(1). This locate must be made and documented in writing prior to effecting the short

   sale. Id.


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          C.      Rule 204

          23      The closeout requirement rule. Rule 204 requires brokers and dealers that are

   participants of a registered clearing agency to take action to closeout failure to deliver positions.

   17 C.F.R. § 242.204. Closing out requires the broker or dealer to purchase or borrow securities of

   like kind and quantity. The time period by which a broker must close-out the transaction depends

   on the specific facts of the transaction, but brokers must generally close-out within 4 days (T+4)

   or 6 days (T+6). Additionally, Rule 203(b)(3) of Reg SHO created the “threshold list” for securities

   of companies which were being aggressively sold short and which had long and persistent Fails to

   Deliver. 7 When a company is put onto the Threshold List, participants of a registered clearing

   agency must immediately purchase shares to close out the Fails to Deliver.

          24      All       of      the       above         information          can       be       found         at:

   www.sec.gov/investor/pubs/regsho.htm under Key Points About Regulation SHO.

          D.      Illegal acts under Reg SHO

          25      As a result of all the above, it is important to understand that any of the following

   activity is illegal under Reg SHO:

                  i.       Selling stock short without having located corresponding stock in like
                           quantities and type for delivery at settlement, except and unless you are a
                           bona fide market maker.

                  ii.      Selling stock short and failing to deliver shares at the time of settlement.
                           This varies whether it is a long sale T+6 or a short sale T+4.

                  iii.     Selling stock short without having located stock for delivery at settlement
                           and subsequently failing to deliver those shares at time of settlement.

                  iv.      Selling stock short and failing to deliver shares at the time of settlement
                           with the purpose of driving down the securities price.


          7
                  Defined as having an aggregate failure to deliver position for 5 consecutive settlement days at the
                  National Securities Clearing Corporation (the “NSCC”) totaling 10,000 shares or more and equal at
                  least to .5% of the issuer’s total shares outstanding. 17 C.F.R. § 242.203.



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                  v.      Misrepresenting that short sales are long sales in order to circumvent Rule
                          105 of Regulation M. See 17 C.F.R. § 242.105. (Regulation M prohibits
                          certain short sellers from purchasing securities in a secondary or follow-on
                          offering). Under Rule 200(g)(1) of Reg SHO an order to sell should be
                          marked long only if the seller is deemed to own the security.

   The above listed rules and regulations regarding short sales are routinely violated by certain bad

   actors and used as a tool to drive down the price of shares and profit from illegal shorts.

          26      To further substantiate that all of the above violations occur commonly and on a

   massive scale, the undersigned has attached copies of several enforcement actions which have

   been brought against some of the largest brokers in this country, Exhibit “E”. Additionally,

   attached as Exhibit “D” is a chart I prepared containing details concerning some of the actual

   enforcement actions brought against these brokers. While the undersigned did not review

   documents to reflect what brokerage firm(s) closed trades in Signalife during the Relevant Time

   Period, it is reasonable to assume several of the brokerage firms appearing in Exhibit “D” and “E”

   cleared many of the illegal naked short sales in SGN (documented herein) since Merrill Lynch,

   Goldman Sachs, Credit Suisse and J.P. Morgan clear approximately 50% of all common stock

   trades in the U.S. All the foregoing information is simply a sampling of what has been and is still

   continuing to take place in the securities marketplace and what the undersigned believes occurred

   to the stock of SGN. The foregoing enforcement actions, fines, and rules in Exhibit “D” and “E”

   are collectively called the “Violations”. Among many other things, these Violations show that

   during the Relevant Time Period:

          i.      UBS Securities, LLC was fined $12,000,000 by FINRA for various Reg SHO
                  violations. FINRA found that UBS’ Reg SHO supervisory system regarding locates
                  and the marking of sale orders was significantly flawed and resulted in a systemic
                  supervisory failure that contributed to serious Reg SHO failures across its equities
                  trading business. First, FINRA found that UBS placed millions of short sale orders
                  to the market without locates, including in securities that were known to be hard to
                  borrow. Second, FINRA found that UBS mismarked millions of sale orders in its
                  trading systems. Many of these mismarked orders were short sales that were
                  mismarked as “long,” resulting in additional significant violations of Reg SHO’s


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                locate requirement. Third, FINRA found that UBS had significant deficiencies
                related to its aggregation units that may have contributed to additional significant
                order-marking and locate violations. In summary, FINRA determined that based
                upon the foregoing, the firm violated Reg SHO during the time periods described
                above and that it mismarked more than 10 million sale orders including short
                sales mismarked as long that also violated Reg SHO’s locate requirement. FINRA
                found that UBS’ supervisory framework over its equities trading business was not
                reasonably designed to achieve compliance with the requirements of Reg SHO and
                other securities laws, rules and regulations until at least 2009.

         ii.    Goldman Sachs was fined $15,000,000.00 by the SEC for allowing short sale locate
                requests to be handled by an automated model that either would unreasonably grant,
                in whole or in part, the locates on an automated basis. Goldman employees could
                (and 98% of the time did) simply by-pass the locate requirements of Reg SHO by
                simply hitting “F3” to autolocate the shares—even if they had no reasonable basis
                for believing the shares were actually located. The auto-locates reached more than
                20,000 locates (not shares) per day. While the number of locates provided to
                customers which in reality did not exist (which would make their customers and/or
                their own short sales “naked”) is not articulated in the SEC complaint, the
                undersigned believes it to be large based on the magnitude of locates provided by
                Goldman and the size of the fine levied against Goldman by the SEC.

         iii.   Merrill Lynch unreasonably relied on “Easy-to-Borrow” lists as a reasonable basis
                for locating securities even when Merrill Lynch knew such lists were outdated or
                countervailing factors had changed whether the shares would be easy-to-borrow.
                As such, Merrill Lynch provided millions of locates for short sales without a
                reasonable basis for believing that the shares would be available for deliver. This,
                in effect, caused its customers’ short sales (as well as Merrill Lynch’s own
                proprietary trading) to be “naked.” Merrill Lynch was fined $9 million, and was
                required to pay $1,566,245.67 in disgorgement and $334,564.65 in prejudgment
                interest.

         iv.    Merrill Lynch Professional Clearing Corp. was fined $3.5 million for violating Reg
                SHO and Merrill Lynch, Pierce, Fenner & Smith was fined an additional $2.5
                million for failing to establish, maintain and enforce supervisory systems and
                procedures related to Reg SHO. FINRA found that from September 2008 through
                July 2012, Merrill Lynch PRO did not take any action to close out certain fail-to-
                deliver positions, and did not have systems and procedures in place to address the
                close-out requirements of Regulation SHO for the majority of that period. FINRA
                also found that from September 2008 through March 2011, Merrill Lynch’s
                supervisory systems and procedures were inadequate and improperly permitted the
                firm to allocate fail-to-deliver positions to the firm’s broker-dealer clients based
                solely on each client’s short position without regard to which clients caused or
                contributed to Merrill Lynch’s fail-to-deliver position.




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          v.      In June of 2014, FINRA fined Goldman Sachs, Merrill Lynch, and Barclays Capital
                  $1,000,000.00 each for reporting short sales as long on their blue sheets and for
                  other various reporting violations.

          vi.     Credit Suisse Securities, was fined $1.75 million by FINRA for violating Reg SHO
                  by failing to supervise short sales and mis-marking sale orders. FINRA found that
                  from June 2006 through December 2010, Credit Suisse’s Reg SHO supervisory
                  system regarding locates and the marking of sale orders was flawed and resulted in
                  a systemic supervisory failure that contributed to significant Reg SHO failures
                  across its equities trading business. During the time period, Credit Suisse released
                  millions of short sale orders to the market without locates, including threshold and
                  hard to borrow securities. The locate violations extended to numerous trading
                  systems, aggregation units and strategies. In addition, Credit Suisse mismarked tens
                  of thousands of sale orders in its trading system. The mismarked orders included
                  short sales that were mismarked as “long,” resulting in additional violations of Reg
                  SHO’s locate requirement.

          vii.    Deutsche Bank was fined $1,400,000 by FINRA for improperly relying on a “net”
                  position of total shares which included shares supposedly held by international
                  affiliates. This “net” aggregate position was then used to justify locates provided to
                  customers and to its own brokers.

          viii.   J.P. Morgan was fined by FINRA for failing to properly mark 19,318,195 sell
                  orders as short between October 19, 2011 to January 27, 2012 (approximately 3
                  months). This number illustrates the magnitude of the problem. Additionally, the
                  firm on 21,217 occasions affected short sales on its own account without obtaining
                  a locate. For these violations the firm was issued a fine of $350,000 in total.

   IV.    Analysis of the Stock Price of SGN and Various Potential Short Sale Indicators.

          27      After reviewing the failure to deliver data, sales volume, and short interest

   published by the SEC, the American Stock Exchange, Yahoo Finance and Compustat data, as well

   as the report of Dr. Shapiro, and other material stated above, in my expert opinion I have

   determined the following:

          i.      The Fails to Deliver in SGN from September 2007 to October 2008 were large
                  when compared to the company’s trading volume. Ironically, the reported short
                  interest during that same period was not abnormal.

          ii.     In numerous instances during the Relevant Time Period, the Fails to Deliver of
                  SGN were more than 100% of the stock’s reported short interest. This simply
                  should not happen in an unmanipulated market. Fails to Deliver are, and should be,
                  a part of the reported short interest. There should never be an instance in which the
                  Fails to Deliver exceed the short interest. However, Fails to Deliver reached


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                  125.5% of the short interest in the second half of January 2008 and as high as
                  416.2% of short interest in the first half of September 2008. It is my opinion
                  that the difference between the reported short interest and the Fails to Deliver were,
                  in large part, a result of: a) trading tickets which were mismarked as long, but in
                  reality were short; and/or b) other actions of broker dealers which created the
                  appearance of the close of a transaction in long shares but which in reality, should
                  have resulted in a fail to deliver.

          iii.    The foregoing illegal activities injected false information into the marketplace. This
                  initial falsehood was the broker calling a short sale a long sale. This further created
                  a fiction in the marketplace by creating an artificial supply by showing the market
                  there were more long shares actively trading than should have been in reality. The
                  simple rules of supply and demand then dictate that such conduct would depress
                  the price of SGN’s stock as a result. When you increase supply without
                  corresponding demand, the price will decrease. In the case of SGN, the Fails to
                  Deliver increased both the shares offered for sale and shares sold. Therefore, the
                  number of Fails to Deliver (due most likely to manipulative naked short selling) put
                  significant downward pressure on the price of SGN stock and caused a substantial
                  dip in the price thereof during the Relevant Time Period. This conclusion is
                  supported by Dr. Shapiro’s regression analysis which showed a highly relevant
                  correlation between Fails to Deliver and SGN’s stock price and led to Dr. Shapiro’s
                  conclusion that the Fails to Deliver of Signalife had a material adverse effect on its
                  share price over the Relevant Time Period.

          28      The undersigned’s opinion is that SGN’s Fails to Deliver were so substantial that

   the individuals behind these Fails effectively created a strong hold on the price of SGN such that

   they controlled the price of the security in a substantial way. As further evidence that SGN’s

   substantial Fails to Deliver put downward pressure on the price of SGN stock, a sampling of the

   alarming number of Fails and other abnormalities shows:

          i.      SGN averaged 679,563 Fails of its shares per day in the first 2 weeks of August
                  2008—350% of the total trading volume;

          ii.     In seven of the 24 bi-monthly periods over the period of September 13, 2007 to
                  September 12, 2008, Signalife’s FTDs averaged more than 100% of the stock’s
                  reported short interest;

          iii.    From September 13, 2007 to September 12, 2008, Fails to Deliver accounted for
                  42.9% of the average trading volume on a bimonthly basis; and

          iv.     At one point in October of 2008, the number of Fails accounted for 70% of the
                  SGN’s total outstanding shares.



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          29      By engaging in naked short selling of Signalife securities over a prolonged period

   of time, which regularly accounted for 40% of the daily trading volume of the stock (but often

   times higher), and were equal to as much as 70% of SGN’s outstanding shares, the naked short

   sellers were in a position to continuously manipulate the price of the security. Legal authorities

   with which I am familiar suggest that such a degree of trading could have been sufficient to

   dominate the active trading market and thus manipulate (and effectively control) the market for

   securities. See generally U.S. v. Mulheren, 938 F.2d 364, 371 (2d Cir. 1991) (“as a general

   proposition... market domination is a factor that supports a manipulation charge... The percent of

   domination must be viewed in light of the time period involved and other indicia of manipulation.);

   United States v. Gilbert, 668 F.2d 94, 95 (2d Cir. 1981); see also Lewis D. Lowenfels & Alan R.

   Bromberg, Securities Market Manipulations: An Examination and Analysis of Domination and

   Control, Frontrunning, and Parking, 55 Alb. L. Rev. 293, 299 (1991); see also S.E.C. v. Masri,

   523 F. Supp. 2d 361 (S.D.N.Y. 2007).

          30      In addition to the examples of high numbers of fails shown above, there are reasons

   to believe the actual number of Fails were even higher. Evidence of this is shown through the

   results of SGN’s 1-for-4,500 share reverse split (reducing the total outstanding shares from

   64,273,000 to 14,283) wherein the company required the return of previous shares before new

   shares would be issued. Upon the split occurring, when all of the shareholders sought to receive

   their new shares—with many of them being falsely marked long shares—there was a large spike

   in the number of Fails to Deliver: (a) On September 24, 2008 and September 25, 2008 (5 and 6

   days respectively after the 1 for 4,500 share reverse split) there were still 936,232 and 936,242

   shares, respectively, on the fails to deliver list despite only 14,283 shares being outstanding; (b) In

   the month after the reverse split, the Fails averaged 62.3% of SGN’s outstanding shares and were




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   as high as 70% of SGN’s issued and outstanding shares; and (c) On September 22, 2008, the 4,500-

   to-one reverse split reduced outstanding shares from 64,273,000 to 14,300, and the stock’s price

   rose accordingly from $0.01 to $45.00 -and the following day, the stock’s price fell to $1.10 on

   trading volume of 10,561 shares, representing 73.9% of all issued and outstanding shares. Items

   (a) through (c) are significant evidence of fictitious shares which were trading on the open market

   prior to the reverse split as if real shares, but which were exposed and became Fails upon SGN

   requiring all shares to be returned to the company and exchanged and by substantially shrinking

   the number of shares in the public float. In my experience, there are numerous ways in which Fails

   to Deliver can be hidden—all of which are made for the primary purpose of avoiding detection.

          31      Based on my experience in the 20 cases I have handled to date, and the other

   approximately 30 cases upon which I performed due diligence services, the above stated activity

   in (a) through (c) indicates a large group of hidden Fails also consistent with the mismarking of

   tickets as long versus short that were not reported, and the use of various illegal techniques thereby

   making the number of Fails to Deliver even larger than the already substantial number reported by

   the SEC indicates SGN was in a manipulated market. These hidden fails, when added to the

   reported fails of SGN would have added to the decrease in the stock price of SGN.

   V.     Foreseeability by Mitchell Stein of the Above Stated Illegal Activity

          32      It is the opinion of the undersigned that none of the illegal activity constituting the

   Violations could have been foreseen by Mitchell Stein. When I take on a naked short selling case,

   usually hundreds of thousands of dollars are spent on due diligence before suit is even filed with

   the majority of that money going to pay for experts. Even after such due diligence is done, it is not

   until after trial is instituted (and hundreds of thousands more dollars are spent) before the discovery

   is brought forth which finally puts together all the pieces of the manipulation that occurred. The

   means by which short-sellers manipulate the market and find ways to circumvent Reg SHO are


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   always changing to avoid detection and are highly complex. It would be unreasonable to expect

   Mitchell Stein (who lacks any demonstrable expertise in this area) to have any knowledge as to

   the perpetrators of such a scheme or the manner such scheme was being perpetrated during the

   Relevant Time Period.

             33   Further:

             a    Mitchell Stein could not have anticipated the mismarking of tickets long when
                  they were actually short sales by brokerage firms.

             b    Mitchell Stein could not have foreseen nor predict that the number of Fails
                  reported by the SEC were not accurate for various reasons, including but not
                  limited to, broker dealers being untruthful on their blue sheets.

             c    Mitchell Stein could not have foreseen that this level of large scale and fraudulent
                  activities (i.e. counterfeiting of securities) could occur against the company of
                  SGN.

             d    Mitchell Stein could not have foreseen that the SEC and other regulatory bodies
                  would fail to oversee and stop the large scale manipulation taking place against
                  this company.

             34   As such, it is my opinion that Mitchell Stein could not have foreseen any of the

   Violations that I believe are a substantial cause of the decrease in the price of SGN during the

   Relevant Time Period.

             35   Finally, it is the undersigned’s opinion that the injection of any information from

   the company, positive or negative, would not necessarily have a direct material impact on the price

   of the stock of SGN as the illegal short sale manipulators had a strong hold on the company as

   indicated above by the ratio of Fails to Deliver versus actual real investor trading in real SGN’s

   shares.




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           This report in the matter of United States v. Stein is respectfully submitted on April 6,

   2018.




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            Exhibit List to the Expert Report of James “Wes” Christian


         Exhibit A.   James “Wes” Christian Resume
         Exhibit B.   List of naked short selling cases CSJ has handled
         Exhibit C.   Expert Report of Dr. Robert Shapiro
         Exhibit D.   List of Reg SHO Violations by Large Brokers
         Exhibit E.   Sample of SEC Enforcement actions
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   James Wesley (“Wes”) Christian

   With over 15 years of experience in
   investigating      manipulative       trading
   practices, including naked short selling, and
   litigating numerous stock manipulation
   cases, e.g., Overstock.com vs. Morgan
   Stanley & Co., Mr. Christian has provided
   substantial assistance to the US Securities
   and Exchange Commission and Department
   of Justice in the exposure and prosecution
   of several stock manipulators.

   In addition to suing Wall Street for stock
   manipulation, Mr. Christian has focused on
   litigating against oil and gas companies for
   royalty fraud and banks for aiding and
   abetting Ponzi schemes across eight
   different states and two countries.


   Mr. Christian has also handled many disputes involving breach of contract,
   fraud, wrongful death, intellectual property, breach of fiduciary duty and
   serious personal injuries or wrongful death actions.
   Education
      • Keller High School, 1971
      • Bachelor of Science, West Texas State A&M University, 1975
      • Doctor of Jurisprudence, South Texas College of Law, 1978

   Work History

      • 1978 - 1979 Associate, Morris McCann
      • 1978 - 1988 Partner, Margraves Kennerly & Schueler
      • 1988 - Present Managing Partner, Christian Smith & Jewell/James W.
                   Christian, P.C.




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   Assistance to Securities and Exchange Commission and Department
   of Justice:

         Collaborated with the U.S. Securities and Exchange Commission’s
          Southern District of New York’s office and the U.S. Department of
          Justice in the indictment and prosecution of Andreas and Thomas
          Badian in connection with Rhino Advisors;

         Collaborated with the U.S. Securities and Exchange Commission’s
          Southern District of New York’s office and the U.S. Department of
          Justice in connection with one or more defendants in the case of Taser
          International, Inc., et al., v. Morgan Stanley & Co., Inc., et al.;
          Superior Court of Georgia, Fulton County Case No. 2008-EV-
          004739-B.

   Stock Fraud Cases Litigated by Mr. Christian Include:

         INTERNET LAW LIBRARY, INC. and Hunter M.A. Carr, Plaintiffs, v.
          SOUTHRIDGE         CAPITAL     MANAGEMENT,      LLC,     et     al.,
          Defendants./COOTES DRIVE, LLC., Defendant, Counterclaim–
          Plaintiff, v. INTERNET LAW LIBRARY, INC., Plaintiff, Counterclaim–
          Defendant./Jack TOMPKINS, Kerwin Drouet, et al., Plaintiffs, v.
          SOUTHRIDGE CAPITAL MANAGEMENT, et al., Defendants; United
          States District Court, S.D. New York;

         NANOPIERCE TECHNOLOGIES, INC., Plaintiff, v. SOUTHRIDGE
          CAPITAL MANAGEMENT LLC, Dan Pickett, Patricia E. Singer,
          Thomson Kernaghan & Co., Ltd., and Harvest Court LLC,
          Defendants./HARVEST COURT LLC, Counterclaim Plaintiff, v.
          NANOPIERCE TECHNOLOGIES, INC., Paul H. Metzinger, Christina
          Skousen, Barry Honig, Kristi Kampmann, Dr. Herbert Neuhaus,
          Gemini Investments, Ltd., Stanley Richards, Timothy Solomon, H.
          Glenn Bagwell, Dunlap Industries Limited, Turbo International Ltd.,
          Peter Coker, Martin Christen, Robert Shaw, M. Albert Capote,
          Cayman National Trust Ltd., and Cayman National (Nominees) Ltd.,
          Counterclaim Defendants; United States District Court, S.D. New
          York Case No. 02 Civ 0767(LBS);




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         ATSI COMMUNICATIONS, INC., Plaintiff, v. THE SHAAR FUND,
          LTD., et al., Defendants; United States District Court, S.D. New
          York Case No. 02 Civ. 8726(LAK);

         ENDOVASC LTD., INC., Plaintiff, v. J.P. TURNER & CO., LLC, et al..,
          Defendants; United States District Court, S.D. New York Case No.
          02 Civ. 7313(LAP);

         PET QUARTERS, INC., Plaintiff v. Thomas BADIAN, et al.,
          Defendants; United States District Court, E.D. Arkansas Case No.
          4:04-CV-697 (RSW);

         Joseph AVENIUS et al., Plaintiffs, v. BANC OF AMERICA
          SECURITIES LLC, et al., Defendants; Superior Court of California,
          San Francisco County Case No. CGC-06-453422;

         In re NOVASTAR FINANCIAL SECURITIES LITIGATION; United
          States District Court, W.D. Missouri, Western Division Case No. 04–
          0330–CV–W–ODS;

         OVERSTOCK.COM. INC., a Delaware corporation, et al., Plaintiffs,
          v. GRADIENT ANALYICS, INC., and Arizona corporation, et al.,
          Defendants; Superior Court of the State of California, Marin County
          Case No. CV 053693;

         OVERSTOCK.COM, INC., A Delaware Corporation, et al., Plaintiffs,
          v. MORGAN STANLEY & CO., Incorporated, et al., Defendants;
          Superior Court of California, San Francisco County; Case No. CGC-
          07-460147;

         EAGLETECH COMMUNICATIONS INC., et al., Plaintiffs, v.
          CITIGROUP, INC., et al., Defendants; United States District Court,
          S.D. Florida Case No. 07-60668-CIV;

         EAGLETECH COMMUNICATIONS, INC., a Nevada Corporation
          authorized to do business in the State of Florida, Appellant, v.
          BRYN MAWR INVESTMENT GROUP, INC., et al., Defendants; United
          States District Court, S.D. Florida Case No. 4D09–3949



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         Greg MANNING, et al., Plaintiffs, v. MERRILL LYNCH, PIERCE,
          FENNER & SMITH, INC., et al., Defendants; United States District
          Court, D. New Jersey Case No. 12–4466 (JLL);

         HYPERDYNAMICS     CORPORATION,      Plaintiff, v.  J.P.  CAREY
          SECURITIES, INC., et al., Defendants; Superior Court of Georgia,
          Fulton County;

         SEDONA CORPORATION, Plaintiff, v. LADENBURG THALMANN &
          CO., INC., et al., Defendants; United States District Court, S.D.
          New York Case No. 03Civ.3120(LTS)(THK);

         FIRST EMPIRE CORPORATION (directly and derivatively in its
          capacity   as a shareholder of LecStar Corporation) and ALAN B.
          THOMAS, JR. (directly and derivatively in his capacity as a
          shareholder of LecStar Corporation), Plaintiffs, v. JOHN C.
          CANOUSE, et al., v. LECSTAR CORPORATION, as a Nominal
          Defendant; Superior Court of Georgia, Fulton County Case No.
          1:04-CV-2596TWT;

         TASER INTERNATIONAL, INC., et al., Plaintiffs, v. MORGAN
          STANLEY & CO., INC., et al., Defendants; Superior Court of
          Georgia, Fulton County Case No. 2008-EV-004739-B

         RASER TECHNOLOGIES, INC., et al., Plaintiffs, v. MORGAN
          STANLEY & CO., LLC, et al., Defendants; Third Judicial District
          Court, Salt Lake County Case No. 150906718

         RASER TECHNOLOGIES, INC., et al., Plaintiffs, v. MORGAN
          STANLEY & CO., LLC, et al., Defendants; Superior Court of Fulton
          County, State of Georgia Case No. 2012-CV-214140

   Publications, Speeches & Law Review Articles

         Energy Institute Seminar, Houston, Texas - February 16-17, 2006:
          Topic- “Alien Tort Claims and Other Ways to Obtain Jurisdiction Over
          Foreign Corporations Affiliated with U.S. Corporations”


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         Advanced Evidence and Discovery, Houston, Texas (April 26-27,
          2006); Dallas, Texas (May 11-12, 2006); San Antonio, Texas (May
          25-26,    2006): Topic       –    “Extra-Jurisdictional  Domestic and
          International Civil Litigation: A Guide for Practitioners”

         Advanced Evidence and Discovery, Houston, Texas (April 19-20,
          2006); Dallas, Texas (May 3-4, 2006); San Antonio, Texas (May 17-
          18, 2006): Topic – “Internet Discovery and how to use it.”

         University of Houston Law Review; Spring, 2007; Naked Short
          Selling: How Exposed are Investors

         Committee Member Jury Awareness State Bar of Texas, Houston,
          Texas, 2006-2007 Topic – “The Importance of Our Great American
          Jury System”

         Advanced Evidence and Discovery, Houston, Texas (April 19-20,
          2007); Dallas, Texas (May 3-4, 2007); San Antonio, Texas (May 17-
          18, 2007): Topic – “Daubert Challenges.”

         Advanced Evidence and Discovery, Houston, Texas; San Antonio,
          Texas (May 22-23, 2008): Topic – “Expert Witnesses.”

         2009 Advanced Evidence and Discovery, Houston Texas: Topic –
          “Musical Chairs: Apportioning Responsibility.”

         Litigation Update, Dallas, Texas; Houston, Texas (January 19-20,
          2012): Topic - “Who We Are As Lawyers.”

         Litigation Update, Austin, Texas; (January, 2013): Topic – “Becoming
          a Texas Legal Legend.”

         State Bar of Texas Annual Meeting, Dallas, Texas; (June, 2013):
          Induction of Honorable Royal Furguson and Francis Scott Baldwin Sr.

         Litigation Update, Austin, Texas; (January, 2014): Topic – “15 Keys
          to Winning a Jury Trial”

         State Bar of Texas Legends Committee, Lubbock, Texas; (April,
          2014): Induction of Forrest Bowers as a Texas Legal Legend.

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         State Bar of Texas Legends Committee, Austin, Texas; (June, 2014):
          Induction of Bob Black as a Texas Legal Legend.

         State Bar of Texas Legends Committee, Waco, Texas; (November,
          2014): Induction of George Chandler as a Texas Legal Legend.

         31st Annual Litigation Update Institute, San Antonio, Texas; (January
          15-16, 2015): Topic – “How to Effectively Use Expert Witnesses.”

         State Bar of Texas Legends Committee, Lubbock, Texas; (September
          11, 2015): Induction of Mary Lou Robinson as a Texas Legend.

         State Bar of Texas Legends Committee, Houston, Texas; (November,
          2015): Induction of Judge Ruby Kless Sondock as a Texas Legal
          Legend.

         University of Houston, Houston,              Texas;   (February   9,    2016):
          Importance of Lawyers in Society.

         Amarillo Bar Association, Amarillo, Texas; (April 28,                   2016):
          Preparing, Presenting and Cross-Examination of Experts.

         Litigation Update Institute, San Antonio, Texas; (January 26-27,
          2017).

         State Bar of Texas Legends Committee, (Dallas, Texas): January,
          2017): Induction of Ron White as a Texas Legend.

         Litigation Council Spring Meeting, South Padre, Texas; (March 30-31,
          2017).

         State Bar of Texas Legends Committee, Austin, Texas; (April, 2017):
          Inductions of Lloyd Lochridge and Pat Lochridge as a Texas Legend.

         State Bar of Texas Legends Committee, Lubbock, Texas; (April,
          2017): Induction of Tom Morris as a Texas Legend.

         Litigation Council Fall Meeting, Ft. Davis, Texas; (October 6-7, 2017).

         Litigation Update, Austin, Texas; (January 11-12,2018).


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         State Bar of Texas Legends Committee, Dallas, Texas; (January,
          2018): Induction of Harriet Miers as a Texas Legend.

   Law Firm News & Articles

      • Jennifer Hiller, Suits on Royalties Emerging in Shale, SAN ANTONIO
        EXPRESS-NEWS, Mar. 14, 2016

      • Rebecca Davis O’Brien and Louise Radnofsky, Treatment of Elite
        Gymnasts Under Scrutiny, THE WALL STREET JOURNAL, Feb. 17,
        2016

      • Nancy Armour and Rachel Axon, Suit puts heat on Karolyis, USA
        TODAY , Feb. 17, 2017

      • Jennifer Hiller, Suits on Royalties Emerging in Shale, SAN ANTONIO
        EXPRESS-NEWS, Mar. 14, 2016

      • Liz Moyer, Signature Bank is Sued Over Ties to Ponzi Scheme, NEW
        YORK TIMES, Feb. 24, 2016

      • Insolvency, Regulatory, The Enablers of the Fraudsters, Part 1,
        ALLABOUTALPHA, Sept. 1, 2015

      • Helen Avery, JPMorgan’s Trading Loss Proves Volcker Rule Won’t Work,
        EUROMONEY, May 24, 2012

      • Joe Meyers, “Naked Short Selling” Probed in New Documentary, THE
        NEWS-TIMES, Apr. 12, 2012

      • BofA, Goldman, Others Settle Taser Short Selling Suit, LAW 360, Jun
        20, 2011

      • Helen Avery, Banking: Litigation Could Seriously Damage Banks’
        Health, EUROMONEY, Apr. 15, 2011

      • Christopher Faille, But What if Compliance Officers Do Their Jobs,
        HEDWORLD.com, Apr. 15, 2011

      • Michelle Massey, Marshall Lawyer Sue Beaumont Accounts After Losing
        $6M in Market Collapse, THE SOUTHWEST TEXAS RECORD, Oct. 12,
        2010




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      • Frank Geary, Police Union Paid Top Dollar for New Offices, LAS VEGAS
        REVIEW-JOURNAL, Aug. 2, 2009

      • Christopher Faille, Christian Reflects          on   Mangan,Gryphon,
        HEDGEWORLD.com, Jan. 9, 2008

      • John R. Emschwiller and Kara Scannell, Blame the 'Stock Vault'?
        Clearinghouse Faulted On Short-Selling Abuse; Finding the Naked
        Truth, NY SUN, Jul 5, 2007

      • Judith Burns, SEC Economists Reject Claims On 'Naked' Short Sales,
        DOW JONES NEWSWIRES, Apr. 23, 2007

      • CFO Staff, Naked Hunch: Overstock.com kicks its fight against short-
        sellers up a notch; the PCAOB debates the merits of mandatory fraud
        audits; state health-care reforms could cause headaches for Corporate
        America; and more, CFO MAGAZINE, Apr. 01, 2007

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   Radio Appearances

            Tim Connolly’s Winning Strategies – Re: Stock Fraud on Wall
             Street, April 29, 2011

            Tim Connolly’s Winning Strategies – Re: Spiraling costs of litigation
             and how “David can still fight Goliath”, Feb. 11, 2011

            Tim Connolly’s Winning Strategies – Re: Insider Trading Issues,
             Dec. 3, 2010

            Tim Connolly’s Winning Strategies – Re: Mortgage Fraud, Nov. 5,
             2010

            Tim Connolly’s Winning Strategies – Re: FIN REG, July 30, 2010

            Tim Connolly’s Winning Strategies – Re: Naked Short-Selling, June
             3, 2010

            Tim Connolly’s Winning Strategies – Re: Flash Crash, May 7, 2010


   Documentaries

            Brown Saddle Films, Wall Street Conspiracy

            Bloomberg T.V. Special, Phantom Shares

            Sandra Mohr, Mohr Productions - Stock Shock


   T.V. Appearances

      • Brown Saddle Films, Wall Street Conspiracy

   Professional Leadership Involvement

            State Bar of Texas, 1978 - Present
            State Bar of New York, 2005 - Present
            American Association for Justice, 2003 - Present
            American Bar Association, 1978 - Present
            Houston Bar Association, 1978 - Present
            Member of Advanced Evidence & Discovery Committee - State Bar
             of Texas, 2006 - Present

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             Life Fellow of the Texas Bar Foundation
             Member of the Litigation Council (State Bar of Texas), 2006 -
              Present
             Energy Institute - Speaker, 2006
             Advanced Evidence & Discovery Committee - Member/Speaker,
              2006 – Present
             “Who We Are As Lawyers” - Speaker, 2006 – Present
             Jury Awareness Committee, State Bar of Texas, 2006 – 2007
             Texas Legends Committee - Chairman, 2006 – 2010
             Texas Legends Committee - Co-Chairman, 2011 - 2014
             Annual Meeting, State Bar of Texas - Co-Chairman, 2011 – 2012
             Frequent speaker at SMU, South Texas College of Law, Texas
              Weslyan Law School and others on Role of a Lawyer in Our Society,
              2007 – Present)
             Elected Secretary of Litigation Council of the State Bar of Texas,
              2015 - 2016


   Professional Affiliations

      •   United States Court of Appeals
      •   United States Court of Customs and Patent Appeals
      •   Fifth Circuit Court of Appeals
      •   United States Court of Claims
      •   United States Tax Court
      •   United States District Court, Northern District of Texas
      •   United States District Court, Southern District of Texas
      •   United States District Court, Eastern District of Texas
      •   United States District Court, Western District of Texas
      •   United States District Court, Western District of Colorado
      •   United States District Court, Delaware
      •   United States Bankruptcy Court, Delaware
      •   United States District Court, Southern District of New York




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                            Stock Fraud List – Full Case Information

      1. Internet Law Library
             o INTERNET LAW LIBRARY, INC. and Hunter M.A. Carr, Plaintiffs, v.
                 SOUTHRIDGE CAPITAL MANAGEMENT, LLC, et al., Defendants./COOTES
                 DRIVE, LLC., Defendant, Counterclaim–Plaintiff, v. INTERNET LAW
                 LIBRARY, INC., Plaintiff, Counterclaim–Defendant./Jack TOMPKINS, Kerwin
                 Drouet, et al., Plaintiffs, v. SOUTHRIDGE CAPITAL MANAGEMENT, et al.,
                 Defendants.
             o United States District Court, S.D. New York.
             o James W. Christian listed as counsel of record
      2. Nanopierce
             o NANOPIERCE TECHNOLOGIES, INC., Plaintiff, v. SOUTHRIDGE CAPITAL
                 MANAGEMENT LLC, et al., Defendants./HARVEST COURT LLC,
                 Counterclaim Plaintiff, v.NANOPIERCE TECHNOLOGIES, INC., et al.,
                 Counterclaim Defendants.
             o United States District Court, S.D. New York.
             o No. 02 Civ 0767(LBS)
      3. ATSI Communications, Inc.
             o ATSI COMMUNICATIONS, INC., Plaintiff, v. THE SHAAR FUND, LTD., et
                 al., Defendants.
             o United States District Court, S.D. New York.
             o No. 02 Civ. 8726(LAK)
      4. CVF Technologies Corp.
      5. Endovasc
             o ENDOVASC LTD., INC., Plaintiff, v. J.P. TURNER & CO., LLC, et al..,
                 Defendants.
             o United States District Court, S.D. New York.
             o No. 02 Civ. 7313(LAP)
      6. Pet Quarters
             o PET QUARTERS, INC., Plaintiff v. Thomas BADIAN, et al., Defendants.
             o United States District Court, E.D. Arkansas
             o No. 4:04-CV-697 (RSW)
             o James W. Christian listed as counsel of record
      7. NFI
             o Joseph AVENIUS et al., Plaintiffs, v. BANC OF AMERICA SECURITIES LLC,
                 et al., Defendants.
             o No. CGC-06-453422
             o Superior Court of California, San Francisco County
             o James W. Christian listed as attorney of record
      8. Novastar Financial, Inc.



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             o In re NOVASTAR FINANCIAL SECURITIES LITIGATION
             o United States District Court, W.D. Missouri, Western Division
             o No. 04–0330–CV–W–ODS
      9. Overstock – Marin County
             o OVERSTOCK.COM. INC., a Delaware corporation, et al., Plaintiffs, v.
                 GRADIENT ANALYICS, INC., and Arizona corporation, et al., Defendants.
             o Superior Court of the State of California, Marin County
             o No. CV 053693
      10. Overstock – San Francisco County
             o OVERSTOCK.COM, INC., A Delaware Corporation, et al., Plaintiffs, v.
                 MORGAN STANLEY & CO., Incorporated, et al., Defendants.
             o Superior Court of California, San Francisco County
             o No. CGC-07-460147
      11. Eagletech
             o EAGLETECH COMMUNICATIONS INC., et al., Plaintiffs, v. CITIGROUP,
                 INC., et al., Defendants.
                      United States District Court, S.D. Florida
                      No. 07-60668-CIV
             o EAGLETECH COMMUNICATIONS, INC., a Nevada Corporation authorized to
                 do business in the State of Florida, Appellant, v. BRYN MAWR INVESTMENT
                 GROUP, INC., et al., Defendants.
                      United States District Court, S.D. Florida
                      No. 4D09–3949
      12. Global Links
      13. Greg Manning Auctions
             o Greg MANNING, et al., Plaintiffs, v. MERRILL LYNCH, PIERCE, FENNER &
                 SMITH, INC., et al., Defendants.
             o United States District Court, D. New Jersey
             o No. 12–4466 (JLL)
      14. Hyperdynamics
             o HYPERDYNAMICS CORPORATION, Plaintiff, v. J.P. CAREY SECURITIES,
                 INC., et al., Defendants
             o Superior Court of Georgia, Fulton County
             o James W. Christian listed as attorney of record
      15. Sedona
             o SEDONA CORPORATION, Plaintiff, v. LADENBURG THALMANN & CO.,
                 INC., et al., Defendants.
             o No. 03Civ.3120(LTS)(THK)
             o United States District Court, S.D. New York
             o James W. Christian listed as attorney of record




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      16. Lecstar
             o FIRST EMPIRE CORPORATION (directly and derivatively in its capacity
                  as a shareholder of LecStar Corporation) and ALAN B. THOMAS, JR. (directly
                  and derivatively in his capacity as a shareholder of LecStar Corporation),
                  Plaintiffs, v. JOHN C. CANOUSE, et al., v. LECSTAR CORPORATION, as a
                  Nominal Defendant
             o Superior Court of Georgia, Fulton County
             o No. 1:04-CV-2596TWT
      17. Taser
             o TASER INTERNATIONAL, INC., et al., Plaintiffs, v. MORGAN STANLEY &
                  CO., INC., et al., Defendants
             o Superior Court of Georgia, Fulton County
             o No. 2008-EV-004739-B
             o James W. Christian listed as attorney of record
      18. Raser – Utah
             o RASER TECHNOLOGIES, INC., et al.,. Plaintiffs, v. MORGAN STANLEY &
                  CO., LLC, et al., Defendants.
             o Third Judicial District Court, Salt Lake County
             o No. 150906718
             o James W. Christian listed as attorney of record
      19. Raser – Georgia
             o RASER TECHNOLOGIES, INC., et al.,. Plaintiffs, v. MORGAN STANLEY &
                  CO., LLC, et al., Defendants.
             o Superior Court of Fulton County, State of Georgia
             o No. 2012-CV-214140
             o James W. Christian listed as attorney of record




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   Broker        Resolution   Disciplinary    Sanction
                   Date          Entity       Amount                                         Violation

                                                           Acting as a program dealer in auction rate securities (ARS), submitted
                                                           inaccurate information in certain respects regarding the result of an auction
                                                           in approximately 1,000 instances to the municipal securities rulemaking
                                                           board's (MSRB) short-term obligation rate transparency (short) System. The
                                                           findings stated that the firm erroneously reported rate types for the ars
Goldman, Sachs
                 5/19/2016      FINRA        $50,000.00    indicating that the interest rates were "set by auction" (a), instead of the
    & Co.
                                                           maximum (m) interest rates. The findings also stated that the firm's
                                                           supervisory system did not provide for supervision reasonably designed to
                                                           achieve compliance with respect to the applicable securities laws and
                                                           regulations, and the msrb rules, relating to MSRB rule G-34 concerning
                                                           short reporting of rate types.


                                                           It failed to submit special handling codes, accurate route (RT) prices,
                                                           information for reportable events, accurate execution prices, and an accurate
                                                           limit price to order audit trail system (OATS). The findings stated that the
Goldman, Sachs                                             firm reported short sale transactions to the FINRA trade reporting facility
                  4/5/2016      FINRA        $260,000.00
    & Co.                                                  (FNTRF) without the required short sale modifier. The findings also stated
                                                           the firm's supervisory system did not provide for supervision reasonably
                                                           designed to achieve compliance concerning the reporting of correct short
                                                           sale modifiers to the FNTRF.


                                                           Failed to submit, or inaccurately submitted, certain information to the order
                                                           audit trail system (oats), in alleged violation of FINRA rule 7450; (ii) during
                                                           the period from May 17, 2011 through February 28, 2014, the firm reported
                                                           certain short sale transactions to the FINRA trade reporting facility
Goldman, Sachs
                  4/4/2016      FINRA        $260,000.00   ("FTRF") without the required short sale modifier, in alleged violation of
    & Co.
                                                           FINRA rule 6182; and (iii) the firm's supervisory system did not provide for
                                                           supervision reasonably designed to achieve compliance with respect to
                                                           FINRA rule 6182 concerning the reporting of correct short sale modifiers to
                                                           the FTRF, in alleged violation of FINRA rule 2010 and NASD rule 3010.




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                                                     Arise out of practices engaged in by Goldman’s securities lending demand
                                                     team (the demand team), between November 2008 and mid-2013, in
                                                     providing and documenting "locates" to enable its customers to execute
                                                     short sales. In processing locate requests using the "F3" function, the
                                                     demand team typically did not check alternative sources of securities or
                                                     perform a meaningful further review. Instead, they relied on their general
                                                     belief that Goldman’s automated model was conservative and that the
                                                     provision of additional locates would not result in failures to deliver the
                                                     securities if and when due for settlement. The demand team did not
Goldman, Sachs
                 1/14/2016   SEC      $15,000,000.00 document the basis for this general belief. Additionally, Goldman’s
    & Co.
                                                     documentation of its compliance with Reg SHO in its locate log was
                                                     inaccurate in that Goldman failed to sufficiently differentiate between
                                                     locates that were filled by its automated model and locates that were filled
                                                     by the demand team using the "F3" function. In both cases, the locate log
                                                     simply contained the term "autolocate" to refer to the start of-day inventory
                                                     utilized by Goldman’s automated model as the source of securities
                                                     supporting the locate. As a result of the conduct described above, Goldman
                                                     willfully violated section 17(a) of the Exchange Act and rules 203(b)(1)and
                                                     203(b)(1)(iii) of regulation SHO promulgated under the Exchange Act.




                                                       Violations of an antifraud provision of the federal securities laws in
                                                       connection with respondent's underwriting of certain municipal securities
                                                       offerings. Respondent, a registered broker-dealer, conducted inadequate due
Goldman, Sachs                                         diligence in certain offerings and as a result, failed to form a reasonable
                 6/18/2015   SEC       $500,000.00
    & Co.                                              basis for believing the truthfulness of certain material representations in
                                                       official statements issued in connection with those offerings. This resulted
                                                       in respondent offering and selling municipal securities on the basis of
                                                       materially misleading disclosure documents.




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                                                       Failed to report apparent customer order events to the order audit trail
                                                       system (OATS), failed to provide a record of order route reports submitted
                                                       to oats, failed to accurately append the short sale indicator to
                                                       FINRA/NASDAQ trade reporting facility (TRF) reports, failed to document
                                                       "stopped stock" information on customer order memorandum, failed to
Goldman, Sachs
                 10/28/2014   FINRA     $55,000.00     provide complete and/or accurate customer order memorandum, and
    & Co.
                                                       inaccurately marked sell transactions on its trading ledger. The findings
                                                       stated that the firm incorrectly reported the number of shares executed at the
                                                       market center as away executed shares in the firm's rule 605 of regulation
                                                       NMS report and transmitted reports that contained inaccurate, incomplete,
                                                       or improperly formatted data to OATS



                                                       The firm reported short sales as long sales on its blue sheets submissions
                                                       when the trading desk used a particular middle office system, the desk's
                                                       transactions were processed through a control account, and details about
                                                       separate transactions were transmitted to the blue sheet reporting platform
                                                       via the end of day batch process. The findings also stated that the firm failed
Goldman, Sachs
                  6/4/2014    FINRA    $1,000,000.00   to include certain street-side transactions executed for customers in its blue
    & Co.
                                                       sheets submissions to FINRA causing them to be inaccurate. The firm's
                                                       failure to submit accurate blue sheets had a negative impact on regulatory
                                                       investigations into possible violations of securities laws. The findings also
                                                       included that the firm did not have in place an adequate audit system
                                                       providing for accountability of its blue sheet submissions.


                                                       Entered orders into the NASDAQ/single book system that failed to correctly
                                                       indicate whether the orders were a buy, short sale, or long sale. The firm's
                                                       supervisory system did not provide for supervision reasonably designed to
                                                       achieve compliance with applicable securities laws, regulations and/or
Goldman, Sachs
                 3/12/2013    NASDAQ    $17,500.00     NASDAQ rules addressing quality of market topics. The firm's written
    & Co.
                                                       supervisory procedures failed to provide for one or more of the minimum
                                                       requirements for adequate written supervisory procedures in prevention of
                                                       order entry/clearly erroneous transaction review request filings and books
                                                       and records.




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                                                             Improperly marked certain options orders on the exchange as "customer"
                                                             through various proprietary order entry systems employed by the firm to
                                                             send options orders to the exchange, in alleged violation of ISE rules 400,
                             International
Goldman, Sachs                                               712(a), and 1400(a), and section 17(a) of the securities exchange act of
                 9/20/2012     Securities    $1,074,788.00
    & Co.                                                    1934 and rule 17a-3 promulgated thereunder and (ii) failed to have
                               Exchange
                                                             supervisory systems and controls in place, including a separate system of
                                                             follow-up and review, reasonably designed to achieve compliance with the
                                                             exchange's origin code requirements, in alleged violation of ISE rule 401.


Goldman, Sachs                                               On five occasions between November 14, 2008 and August 5, 2009, failed
                 2/3/2012       NYSE          $10,000.00
    & Co.                                                    to timely submit the regulation and trading notice.

                                                             During the time period from October 2007 through August 2008 it, violated
Goldman, Sachs                                               NYSE ARCA equities rule 6.18(b) by failing to establish and maintain an
                 1/9/2012    NYSE ARCA        $40,000.00
    & Co.                                                    adequate supervisory system reasonably designed to ensure compliance with
                                                             rule 105 of regulation M.

                                                             Violated FINRA Rules 2010, 8211, and 8213 and NASD Rule 3010 by
                                                             failing to report accurate trading information by failing to include the ticker
Goldman, Sachs                                               symbol for numerous electronic blue sheet records submissions and by
                 6/4/2010      FINRA           $22,500
    & Co.                                                    failing to provide supervision reasonably designed to achieve compliance
                                                             with respect to the applicable regulations and laws and FINRA rules
                                                             concerning validation of data on blue sheet submissions.




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                                                                 Violated SEC Rule 203(B)(1) of Regulation SHO, NASD Rules 2110,
                                                                 3010, 3360 and 6130(B) by failing to report short interest positions for
                                                                 foreign securities and numerous shares; reporting short interest positions in
                                                                 securities totaling several million shares each time when the actual short
                                                                 interest positions in the securities were zero shares; inadvertently failed to
                                                                 remove its “excused withdrawal” status as a NASDAQ Market Maker in
Goldman, Sachs
                 5/27/2010       FINRA           $120,000        several securities and also accepted short sale orders or effected a short sale
    & Co.
                                                                 for its own account in mistaken reliance on the market maker exemption in
                                                                 SEC Rule 203(B)(2)(III) and thus without borrowing or entering into an
                                                                 arrangement to borrow the security or without having reasonable grounds to
                                                                 believe the security could be borrowed and timely delivered; and also
                                                                 failing to have the proper supervision procedures in place to ensure
                                                                 compliance with applicable laws, regulations and FINRA rules.


                                                                 Violated NYSE Rule 476(A)(10) by failing to accurately file reports with
                                 NYSE
                                                                 the NYSE of short interest positions in securities listed on the NYSE and
Goldman, Sachs                 Division of
                 3/20/2009                       $160,000        violated NYSE Rule 342 by failing to provide proper procedures of
    & Co.                     Enforcement,
                                                                 supervision and control with respect to the submission of accurate reports of
                                FINRA
                                                                 short interest positions in NYSE-listed securities.


                                                                 Violated SEC Rules 17A-3 and17A-4 and NASD Rules 2110, 3010(A),
                                              $600,000 (for all 3010(B), 3110, 5430(A), 6130(D)(6), 6420(A) and 6420(B) by failing to
Goldman, Sachs
                 12/1/2008       FINRA        violations in this report to the NASDAQ Market Center the correct symbol indicating the
    & Co.
                                                   report)       transaction was a short sale for transactions in reportable securities and
                                                                 failing to notate a short sale indicator on the order ticket



                                 NYSE                            Violated Section 10(A) of the Securities Exchange Act of 1934 by failing to
                                              $600,000 (for all
Goldman, Sachs                 Division of                       mark tickets for sale orders as either long or short as required by Rule 10(A)-
                 11/17/2008                   violations in this
    & Co.                     Enforcement,                       1(C) and erroneously executing sell orders on a minus tick for securities in
                                                   report)
                                FINRA                            which the firm held a short position in violation of Rule 10A-1(A).

                                NASDAQ
Goldman, Sachs                                                   Violated NASDAQ Rule 4755 by entering orders and failing to correctly
                 9/24/2008    Stock Market,        $5,000
    & Co.                                                        indicate if the orders were a buy, short sale or long sale.
                                 FINRA


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                                                       Violated NASD Rules 2110, 6130, 6230(A), 6230(C)(6) and 6955 by
                                                       failing to report short sale transactions they executed to the NASDAQ
Goldman, Sachs
                 4/17/2008      FINRA        $55,000   Market Center with a short sale modifier and failing to report to the NMC
    & Co.
                                                       the correct symbol indicating whether the transactions were a buy, sell, sell
                                                       short, sell short exempt or cross for transactions in reportable securities.


                                                       CBOE alleged on October 31, 2006 the firm controlled aggregate long call,
                             Chicago Board
                                                       short put positions in the Spy Option Class of 344,193 option contracts and
Goldman, Sachs                  Options
                 2/16/2007                   $5,000    after applying the firm’s short underlying position of spy shares as a hedge,
    & Co.                      Exchange
                                                       the firm still exceed the applicable position limit by 1,839 option contracts
                                (CBOE)
                                                       in violation of CBOE Rule 4.11.



                                                       CBOE alleged on July 18, 2006 the firm controlled aggregate long call,
Goldman, Sachs                                         short put positions in the MVR Option Class of 36,190 option contracts
                 8/21/2006      CBOE         $5,000
    & Co.                                              which exceeded the applicable position limit by 4,690 option contracts in
                                                       violation of CBOE Rule 4.11.



                                                       Violated SEC Rule 200(G) and NASD Rules 6130 and 6955 by executing
Goldman, Sachs
                 7/20/2006      NASD         $20,000   proprietary short sales and failing to properly mark the order tickets as short
    & Co.
                                                       and incorrectly reported each transaction as a long sale.



                                                       Violated NASD Rules 3370 and 6130(D)(6) with respect to customer short
                                                       sale orders in a common stock and short sales in the common stock effected
                                                       for the firm’s proprietary account by failing to make an affirmative
Goldman, Sachs                                         determination that the firm would receive delivery of the security or that the
                 5/11/2006      NASD         $20,000
    & Co.                                              security could be borrowed in a timely manner; with respect to short sale
                                                       transactions in the stock, the firm failed to report each transaction to
                                                       NASDAQ Market Center with a short sale modifier and incorrectly reported
                                                       short sale transactions in the stock to the NMC as short sale exempt.




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                                                        Violated Exchange Rule 410A by failing to submit accurate information via
                                                        Blue Sheets; violated Exchange Rule 401 by failing to adhere to the
                                 NYSE
Goldman, Sachs                                          principles of good business practice in the conduct of submitting inaccurate
                 2/17/2006     Division of   $150,000
    & Co.                                               Blue Sheets; and violated Exchange Rule 342 by failing to establish and
                              Enforcement
                                                        maintain appropriate supervision procedures to ensure compliance with
                                                        regulations and laws concerning Blue Sheets.


                                                        Violated NASD Rules 2110, 3010, 3370 and 6130 by effecting short sales
                                                        in securities for the firm’s proprietary accounts and failing to make a
Goldman, Sachs                                          determination that the securities could be borrowed in a timely manner and
                 10/13/2005     NASD         $15,000
    & Co.                                               also by failing to report short sale transactions to the NMC with a short sale
                                                        modifier and incorrectly reporting long sale transactions to the NMC with a
                                                        short sale modifier.


                                                        Violated NASD Rules 2110, 3010, 3370, 4632, 6130, and 6955(A) by
                                                        effecting short sales in securities for the firm’s proprietary accounts and
                                                        failing to make a determination that the securities could be borrowed in a
Goldman, Sachs                                          timely manner; by failing to report executed short sale transactions to ACT
                 7/19/2005      NASD         $25,000
    & Co.                                               with a short sale modifier and failing to report to ACT the correct symbol
                                                        indicating whether the classification of the transaction; and by failing to
                                                        establish and maintain appropriate supervision procedures to ensure
                                                        compliance with regulations and laws concerning short sales.


Goldman, Sachs                                          Violated NASD Rule 3360 by failing to fully report its short interest
                 12/3/2002      NASD         $20,000
    & Co.                                               positions to NASD in 38 different securities.


Goldman, Sachs                                          Violated NASD Rule 3360 by failing to fully report its short interest
                 1/24/2000      NASD          $1,000
    & Co.                                               position of shares of stock.




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                                                            (I) improperly marking numerous orders as SSE when the subject orders did
                                                            not satisfy the requirements of regulation SHO rule 201; (ii) failing to have
                                                            adequate supervisory policies and procedures to identify SSE orders that
                                                            were not eligible for such marking and failing to regularly surveil to
                                                            ascertain the effectiveness of the policies and procedures required by
                                                            regulation SHO rule 201 and take prompt action to remedy deficiencies in
 Merrill Lynch,                Chicago Board
                                                            such policies and procedures; and (iii) failing to adequately supervise to
Pierce, Fenner &   12/8/2016      Options      $35,000.00
                                                            assure compliance with the requirements of rules 200 and 201 of regulation
   Smith Inc.                    Exchange
                                                            SHO pertaining to the accurate marking of sale orders. (exchange rule 4.2 -
                                                            adherence to law; section 17(a) of the Securities Exchange Act of 1934, as
                                                            amended (the "Exchange Act") and rule 17a-3 - records to be made by
                                                            certain exchange members, brokers and dealers thereunder; and regulation
                                                            SHO rules 200 - definition of "short sale" and marking requirements and
                                                            201 - circuit breaker, promulgated under the exchange act).


                                                            (I) improperly marking numerous orders as SSE when the subject orders did
                                                            not satisfy the requirements of regulation SHO rule 201; (ii) failing to have
                                                            adequate supervisory policies and procedures to identify SSE orders that
                                                            were not eligible for such marking and failing to regularly surveil to
                                                            ascertain the effectiveness of the policies and procedures required by
                                                            regulation SHO rule 201 and take prompt action to remedy deficiencies in
 Merrill Lynch,                Chicago Board
                                                            such policies and procedures; and (iii) failing to adequately supervise to
Pierce, Fenner &   9/20/2016      Options      $50,000.00
                                                            assure compliance with the requirements of rules 200 and 201 of regulation
   Smith Inc.                    Exchange
                                                            SHO pertaining to the accurate marking of sale orders. (exchange rule 4.2 -
                                                            adherence to law; section 17(a) of the Securities Exchange Act of 1934, as
                                                            amended (the "Exchange Act") and rule 17a-3 - records to be made by
                                                            certain exchange members, brokers and dealers thereunder; and regulation
                                                            SHO rules 200 - definition of "short sale" and marking requirements and
                                                            201 - circuit breaker, promulgated under the Exchange Act).




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                                                       Violations of the customer protection rule that began during the financial
                                                       crisis and, in certain respects, continued until this year. The violations were
                                                       two-fold. First, ML used cash belonging to its customers to fund its own
                                                       business activities through a series of increasingly complex trades. Second,
                                                       at the same time and continuing for years due to poor oversight and weak
 Merrill Lynch,                                        controls, MLPF&S allowed certain of its clearing banks to hold general
Pierce, Fenner &   6/23/2016   SEC     $358,000,000.00 liens over tens of billions of dollars of securities owned by its customers. As
   Smith Inc.                                          a result of the conduct, MLPF&S violated and willfully violated section
                                                       15(c)(3) of the exchange act and rule 15c3-3 thereunder. Also, MLPF&S
                                                       willfully violated section 17(a)(1) of the exchange act and rules 17a-
                                                       3(a)(10), 17a-5(a), and rules 17a-5(d)(3) (as it existed prior to amendments
                                                       to rule 17a-5 in 2014), 17a-5(d)(2)(ii), 17a-5(d)(3), and 17a-11(e)
                                                       thereunder. In addition, it willfully violated exchange act rule 21f-17.



                                                         That on five occasions, the firm accepted a short sale order in an equity
                                                         security from another person, or effected a short sale in an equity security
                                                         for its own account, without: borrowing the security, or entering into a bona-
                                                         fide arrangement to borrow the security; or having reasonable grounds to
                                                         believe that the security could be borrowed so that it could be delivered on
                                                         the date delivery is due; and documenting compliance with SEC rule
                                                         203(b)(1) of regulation SHO. The findings also stated that the firm
 Merrill Lynch,                                          transmitted 33 reports to the order audit trail system (OATS) that contained
Pierce, Fenner &   8/20/2015   FINRA     $70,000.00      inaccurate, incomplete, or improperly formatted data. The findings also
   Smith Inc.                                            included that the firm failed to append the short sale indicator on 24 trade
                                                         reports submitted to the FINRA/NASDAQ trade reporting facility for a
                                                         short sale transaction in a reportable security and failed to timely report to
                                                         the FINRA/NASDAQ trade reporting facility reporting by 8:00 p.m. eastern
                                                         time 12 transactions that required a .RX modifier. FINRA found that for the
                                                         month of April 2012, the firm made available a report on the covered orders
                                                         in national market system securities that it received for execution from any
                                                         person that included inaccurate information.




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                                                            Violations of regulation SHO (“REG SHO") of the exchange act, in
                                                            connection with its practices relating to its execution of short sales. The
                                                            violations arose from two separate issues concerning Merrill’s use of its
 Merrill Lynch,                                             "easy to borrow" lists. Merrill failed to comport with the sec guidance when
Pierce, Fenner &    6/1/2015       SEC      $9,000,000.00   executing transactions in reliance on easy to borrow ("ETB") lists in two
   Smith Inc.                                               separate but important ways.

                                                            In addition to the $9 million dollar fine, Merrill paid $1,566,245.67 in
                                                            disgorgement, and $334,564.65 in prejudgment interest.


                                                            Consented to the sanctions and to the entry of findings that it violated
                                                            NYSE ARCA equities rule 6.18 by failing to establish and maintain a
                                                            system of supervision that was reasonably designed to ensure full
                                                            compliance with rule 105 by its customers. The findings stated as a result
                                                            the firm's retail customers effected short sales during rule 105's restricted
 Merrill Lynch,
                                                            period and bought shares of the same securities from the firm in follow-on
Pierce, Fenner &   5/27/2015    NYSE ARCA   $300,000.00
                                                            offerings. The firm failed to take reasonable steps to prevent or identify the
   Smith Inc.
                                                            transactions. The findings also stated that the firm violated ARCA equities
                                                            rule 6.18 with respect to its institutional customers' compliance with rule
                                                            105 in that it relied on a third-party vendor that, in some instances, provided
                                                            inaccurate data, which the firm used to calculate the restricted period for
                                                            surveillance purposes.


                                                            It failed to establish, maintain and enforce adequate supervisory systems and
                                                            procedures, including in some instances written supervisory procedures, that
 Merrill Lynch,
                                                            were reasonably designed to ensure compliance with applicable securities
Pierce, Fenner &   10/27/2014     FINRA     $2,500,000.00
                                                            laws and regulations including regulation SHO, emergency orders issued by
   Smith Inc.
                                                            the sec, customer reserve, and record retention requirements of the
                                                            securities exchange act of 1934 and anti-money laundering requirements.


                                                            It submitted at least 5,323 inaccurate blue sheets to various securities
 Merrill Lynch,
                                                            regulators, including the SEC and FINRA. The findings stated that the
Pierce, Fenner &    6/4/2014      FINRA     $1,000,000.00
                                                            inaccurate blue sheets failed to include customer names and addresses for
   Smith Inc.
                                                            trades made on the day the customer opened a firm account.




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                                                       Executed short sale transactions for which it failed to report each of these
                                                       transactions to the FINRA/NASDAQ trade reporting facility (FNTRF) with
 Merrill Lynch,
                                                       the correct symbols indicating that the transactions were sell short. The firm
Pierce, Fenner &   11/18/2013   FINRA    $35,000.00
                                                       executed long sale transactions for which it failed to report each of these
   Smith Inc.
                                                       transactions to the over-the-counter (OTC) reporting facility with the correct
                                                       symbols indicating that the transactions were proprietary long sales.

 Merrill Lynch,
                                                       Entered proprietary orders to sell short into the NASDAQ market center
Pierce, Fenner &   11/18/2013   NASDAQ   $12,500.00
                                                       that incorrectly identified the orders as long.
   Smith Inc.


                                                       The firm had fail-to-deliver positions at a registered clearing agency in an
                                                       equity security that resulted from a long sale, and did not close the fail-to-
                                                       deliver positions by purchasing securities of like kind and quantity within
 Merrill Lynch,                                        the time frame prescribed by sec rule 204(a)(1). The firm executed short
Pierce, Fenner &   10/24/2013   FINRA    $85,000.00    sale orders and failed to properly mark the orders as short. The firm failed
   Smith Inc.                                          to contemporaneously or partially execute customer limit orders in a
                                                       NASDAQ security after it traded each subject order for its own market-
                                                       making account at a price that would have satisfied each customer's limit
                                                       order.


 Merrill Lynch,
                                                       Entered orders into the NASDAQ market center that failed to correctly
Pierce, Fenner &    6/7/2013    NASDQ    $10,000.00
                                                       indicate whether the orders were a buy, short sale or long sale.
   Smith Inc.


                                                       Executed cross transactions that were also short sales but reported these
 Merrill Lynch,                                        trades to the FNTRF without a short sale modifier. The firm failed to have
Pierce, Fenner &   12/12/2012   FINRA    $265,000.00   adequate written supervisory procedures reasonably designed to ensure
   Smith Inc.                                          compliance with FINRA rules 6182, 7230a(d)(6) and NASD rule
                                                       6130(d)(6).



 Merrill Lynch,                                        Former broker of the firm recommended his customers engage in a pattern
Pierce, Fenner &   8/29/2012    FINRA    $400,000.00   of unsuitable short-term closed-end funds (CEF) and unit investment trusts
   Smith Inc.                                          (UIT) trading.



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                                                        1.Violated regulation SHO rule 203(b)(3) during the period of January 2006
                                                        through June 2008, by failing to close out 22 fail to deliver positions in four
                                                        separate securities, that existed between 14 days to 50 days. 2. Violated
 Merrill Lynch,                 American                AMEX rule 324, during the period of November 19, 2007 through
Pierce, Fenner &   4/25/2012     Stock     $50,000.00   December 27, 2007, by incorrectly booking a trade, which caused the firm
   Smith Inc.                   Exchange                to maintain inaccurate records and report inaccurate information to the
                                                        national securities clearing corporation. 3. Violated AMEX rule 320 during
                                                        the period of January 2006 through June 2008, by failing to implement and
                                                        maintain adequate procedures of supervision and control



 Merrill Lynch,
                                                        Entered orders into the NASDAQ market center that failed to correctly
Pierce, Fenner &   1/10/2011    NASDAQ     $5,000.00
                                                        indicate whether the orders were a short sale or long sale.
   Smith Inc.


                                                        Failed to Report to the NMC or FIRA/NASDAQ Trade Reporting facility
                                                        the correct symbol indicating whether tractions were Buy, Sell , Sell Short,
 Merrill Lynch,
                                                        Sell Short Exempt or Cross for Transaction in reportable Securities.
Pierce, Fenner &   9/24/2008    FINRA      $242,500
                                                        Violations of SEC Rules 10B-10, 17A-3, 17A-4, 200(G) of Regulation
   Smith Inc.
                                                        SHO, NASD Rules 2110, 2320, 3010, 3110, 4632, 4632(A), 6130,
                                                        6130(D), 6230(C)(6), 6230(E), 6620, 6620(F), 6955(A),

                                                        Failed to report to act the correct symbol indicating whether transactions in
 Merrill Lynch,                                         eligible securities where a buy, sell, sell short, short Exempt or Cross for
Pierce, Fenner &   3/23/2006    NASDAQ      $45,000     Transaction in reportable Securities. Violations of SEC Rules 10B-10,
   Smith Inc.                                           11AC1-5, 17A-3, NASD Rules 2110, 3010, 3110, 4632, 6130(D), 6420(A),
                                                        6420(C)(3).


                                                        NASD Rules 2110, 2320, 3010, 3370, 4613(E), 4642, 6130, 6420, 6620
 Merrill Lynch,                                         and SEC Rule 11AC 1-4 effectuated short sale transaction in certain
Pierce, Fenner &   10/27/2004    NASD       $97,000     securities and failed to make and affirmative determination prior to affecting
   Smith Inc.                                           such transaction and executed short sale transactions and failed to report
                                                        these transactions to Act with a short sale modifier.




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 Merrill Lynch,                                          NASD Conduct Rule 3370 and NASD Marketplace Rule 6130(D)
Pierce, Fenner &   8/20/2004      NASD         $9,000    effectuated short sale transaction in certain securities and failed to make and
   Smith Inc.                                            affirmative determination prior to affecting such transaction.


                                                         The firm's automated market making desk incorrectly marked sell order
                                                         executions as "long" rather than "short". The finding stated that the firm
 Merrill Lynch                 International
                                                         failed to have sufficient supervisory controls in place, including sufficient
  Professional     5/20/2015     Securities    $10,000
                                                         written supervisory procedures and an adequate supervisory system, and
 Clearing Corp.                  Exchange
                                                         system of follow-up and review, designed to achieve compliance with SEC
                                                         rule 200(G). This conduct violated rule 401.

                                                         The firm's automated market making desk incorrectly marked sell order
                                                         executions as "long" rather than "short". The finding stated that the firm
 Merrill Lynch
                                Box Options              failed to have sufficient supervisory controls in place, including sufficient
  Professional     5/18/2015                   $55,000
                               Exchange LLC              written supervisory procedures and an adequate supervisory system, and
 Clearing Corp.
                                                         system of follow-up and review, designed to achieve compliance with SEC
                                                         rule 200(G). This conduct violated rule 401.


                                                         The firm's position in a particular security had changed from "long" to
                                                         "short" during the trading day. As a result of its review. A total of 30 sell
                                                         order executions had been incorrectly marked as "long" rather than "short"
 Merrill Lynch                  NASDAQ                   by the firms automated market making desk. This conduct constitutes
  Professional     6/8/2015    OMX PHLX,       $55,000   seporate and distinct violations of SEC rule 200(G). In addition, the firm
 Clearing Corp.                   INC.                   failed to have sufficient supervisory controls in place, including sufficient
                                                         written supervisory procedures and an adequate supervisory system, and
                                                         system of follow-up and review, designed to achieve compliance with SEC
                                                         rule 200(G).


                                                         The firm's automated market making desk incorrectly marked sell order
                                                         executions as "long" rather than "short". The finding stated that the firm
 Merrill Lynch
                                NASDAQ                   failed to have sufficient supervisory controls in place, including sufficient
  Professional     6/25/2015                   $55,000
                               Stock Market              written supervisory procedures and an adequate supervisory system, and
 Clearing Corp.
                                                         system of follow-up and review, designed to achieve compliance with SEC
                                                         rule 200(G).




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                                                           The firm violated rule 200(G) of regulation SHO, promulgated under the
                                                           securities exchange act of 1934, by failing to properly mark sell orders as
Merrill Lynch                NYSE ARCA,
                                                           short, and violated NYSE ARCA options rule 11.18 by failing to establish
 Professional    5/27/2015   INC. & NYSE       $10,000
                                                           and maintain adequate supervisory procedures and controls, including
Clearing Corp.                 MKT LLC
                                                           written supervisory procedures, reasonably designed to ensure that sell
                                                           orders were properly marked.



                                                           The firm violated regulation SHO of the exchange act, in connection with its
                                                           practices relating to its execution of short sales. The violations arose from
                                                           issues concerning Merrill's use of its "easy to borrow" lists. Merrill failed to
                                                           comport with SEC guidance when executing transactions in reliance on easy
                                                           to borrow lists in two separate but important ways. Merrill's execution
                                                           platforms were designed to continue accepting short sale orders in reliance
                                                           on its lending desk's easy to borrow list even when Merrill had determined,
                                                           through placement of the stock on Merrill's watch list, that "countervailing
                                                           factors" existed that rendered Merrill's reliance on the list as locate source
                             United States
Merrill Lynch                                              unreasonable. The countervailing factors consisted of Merrill's knowledge
                             Securities and
 Professional    6/1/2015                     $9,000,000   of events that occurred throughout the day after the issuance of the easy to
                               Exchange
Clearing Corp.                                             borrow list that had, or were deemed likely by Merrill to have, the potential
                              Commission
                                                           to impact a particular stock's availability such that Merrill added the stock to
                                                           its watch list. Even though Merrill's policy prevented the lending desk from
                                                           granting locates in such circumstances soley on the basis of the easy to
                                                           borrow list, Merrill allowed its execution platforms to continue to execute
                                                           short sales soley in reliance on the easy to borrow list in such circumstances.
                                                           This conduct violated rule 203(B) of regulation SHO in that Merrill
                                                           purported to rely on easy to borrow list locates that could not provide the
                                                           requisite reasonable grounds to believe the affected securities could be
                                                           borrowed for delivery on the delivery date as required under the rule.




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                                                        The firm failed to establish, maintain and enforce adequate supervisory
                                                        systems and procedures, including in some instances written supervisory
                                                        procedures that were reasonably designed to ensure compliance with
                                                        applicable securities law and regulations including regulation SHO, the
Merrill Lynch                                           2008 emergency orders issued by the SEC and anti-money laundering
 Professional    10/27/2014     FINRA      $5,000,000   requirements. The findings stated that the firm failed to close out its fail-to-
Clearing Corp.                                          deliver positions reflected on its books and records, resulting from a failure
                                                        in its intercompany settlement process to transfer its clearance and
                                                        settlement obligations to its affiliated broker-delealer, by purchasing or
                                                        borrowing securities of like kind and quantity as required by rule 204T(A)
                                                        and 204(A) of regulation SHO.


                                                        From September 2008 through July 2012 the firm did not take any action to
Merrill Lynch
                                                        close out certain fail-to-deliver positions, and did not have systems and
 Professional    20/27/2014     FINRA      $3,500,000
                                                        procedures in place to address the close-out requirements of Regulation
Clearing Corp.
                                                        SHO for the majority of that period.


                                                        The firm failed to establish, maintain and enforce adequate supervisory
                                                        systems and procedures, including in some instances written supervisory
                                                        procedures for compliance with the clouse-out requirements of rules
Merrill Lynch
                              NYSE ARCA,                204T(A) and 204(A) of regulation SHO. The firm failed to alter systems or
 Professional    10/27/2014                $1,500,000
                                 INC.                   procedures to ensure that its fail-to-deliver positions were investigated to
Clearing Corp.
                                                        determine whether each was caused by a short or long sale and, if so, to
                                                        borrow or buy in securities when required. The firm violated NYSE ARCA
                                                        equities rules 6.18(B) and (C).


                                                        NASD RULES 2110, 3360, 6955(A) NYSE Rule 421.10- submitted
Merrill Lynch                                           inaccurate short interest position reports in NASDQ Securities to NASD
 Professional    5/27/2010      FINRA       $47,500     and submitted inaccurate short interest position reports in securities listed
Clearing Corp.                                          on the NYSE to the NYSE thereby the OATS system was unable to link the
                                                        execution reports to the related trade report.




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Merrill Lynch                                       Violated SEC Rule 203(B)(3) and NASD Rules 2110 and 3010 by having a
 Professional    6/26/2007    NASD      $12,500     fail-to-deliver position in a threshold security for 13 consecutive settlement
Clearing Corp.                                      days and failing to timely allocate and close out its fail-to-deliver position.


                                                    NASD Rule 3360- the firm failed to report its short interest positions in
Merrill Lynch
                                                    NASDQ SMALLCAP Securities to the NASD prior to April 199. The firm
 Professional    11/20/2001   NASD      $20,000
                                                    further submitted its short interest position report to the NASD and failed to
Clearing Corp.
                                                    report short interest shares of NASDAQ SAMALLCAP Securities.


                                                    Morgan Stanley & Co., LLC incorrectly entered orders with a principal
                                                    capacity into the nasdaq singlebook system when it served as agent for a
                                                    sponsered access client. The firm entered orders into the nasdaq market
                                                    center that failed to correctly indicate whether the orders were a buy, short
Morgan Stanley
                 11/21/2012   NASD     $35,000.00   sale or long sale. The incorrect order designation resulted from a firm
   & Co.
                                                    trading system problem that erroneously imputed certain principal orders
                                                    into the firm's position calculation. The problem existed for approximately
                                                    21 months and affected other orders the firm sent to the nasdaq market
                                                    center.



                                                    Morgan Stanley & Co. LLC knew, or had reasonable grounds to believe,
                                                    that the sale of an equity security was or would be effected pursuant to an
                                                    order marked long, and failed to deliver the security on the date delivery
Morgan Stanley
                 11/21/2012   FINRA    $47,500.00   was due. The firm had a fail-to-deliver position at a registered clearing
   & Co.
                                                    agency in a threshold security, for 13 consecutive settlement days and failed
                                                    to immediately thereafter close out the fail-to-deliver position by purchasing
                                                    securities of like kind and quantity.




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                                                      Executed, processed and reported numerous off-exchange futures trades to
                                                      the Chicago mercantile exchange (CME) and Chicago board of trade
                                                      (CBOT) as exchanges for related positions (hereinafter, EFRPS). Those
                                                      trades, however, were not lawful EFRPS as they lacked the corresponding
                                                      and related cash, over-the-counter (OTC) swap, OTC option, or other OTS
Morgan Stanley                                        derivative (collectively, cash or OTC derivative) position required to
                  6/5/2012    CFTC    $5,000,000.00
   & Co.                                              constitute a valid EFRP, pursuant to CME and CBOT rules. Because the
                                                      futures trades were executed noncompetitively and not in accordance with
                                                      the rules governing EFRPS, the trades constituted "fictitious sales" and
                                                      resulted in non-bona fide prices being reported in violation of section 4c(a)
                                                      of the commodity exchange act (the act) and commission regulation
                                                      (regulation) 1.38(a).


                                                      Series of formula errors captured non-overdrawn balances, resulting in
                                                      credits being understated on the month-end computation by approximately
                                                      $196 million. A mapping error in a spreadsheet used to analyze and adjust
                                                      allocations for reserve formula purposes resulted in CNS fail to
Morgan Stanley
                 12/13/2011   FINRA    $65,000.00     deliver/receive allocations being duplicated on the file. Resulted in credits
   & Co.
                                                      being overstated by $36 million and debits being understated by $25
                                                      million. The firm did not exclude fail to deliver balances aged over 30
                                                      calendar days from the weekly and month-end computations. Violation of
                                                      SEC Rule 15c3-3, SEA 15(c), NASD Rule 2110, and FINRA Rule 2010.


                                                      The firm failed to establish and/or enforce written supervisory procedures
Morgan Stanley                                        and operational controls and failed to adequately supervise personnel and
                 6/29/2011    FINRA    $575,000.00
   & Co.                                              business operations in connection with certain total return swaps and off-
                                                      shore stock loans in violation of NASD rules 3010 and 2110.

                                                      Violated FINRA Rules 2010 and 6730, NASD Rules 2110, 3010, 3360,
                                                      6230(A) and (B) and (C)(5) and (C)(6), and MSRB Rules G-8 and G-14 by
Morgan Stanley                                        failing to report short interest positions in securities to FINRA and failing to
                 5/17/2011    FINRA     $110,000
   & Co.                                              provide adequate supervision designed to achieve compliance with the
                                                      applicable securities laws, regulations and NASD rules concerning short
                                                      interest position reporting.




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                                                              Violated NASD Rules 2110 and 3360 and NYSE Rule 421.10 by
Morgan Stanley                                                submitting inaccurate short interest position reports in NASDAQ securities
                 8/25/2009     FINRA            $20,000
   & Co.                                                      to NASD and submitted inaccurate short interest position reports in NYSE-
                                                              listed securities to the NYSE.

                                                              Violated Article V, Section 4(H) of the Exchange Constitution by failing to
                                                              comply with the affirmative determination requirements articulated in
                                                              AMEX Information Circulars 90-25 and 98-1135 prior to effecting 10 short
                              American                        sales for the firm’s proprietary or customer accounts and violated Exchange
Morgan Stanley
                 3/13/2007     Stock            $10,000       Rule 320 by failing to ensure that it developed and maintained reasonable
   & Co.
                              Exchange                        supervisory procedures and policies regarding compliance with the
                                                              requirement to make arrangements to either borrow the necessary stock or
                                                              obtain other assurances that delivery can be timely made prior to effecting
                                                              short sales.

                                                              Violated SEC Rules 10A-10B-10, 11AC1-5, 17A-4 and NASD Rules 2110,
                                                              2320, 2860(B)(5), 3010, 3110, 3370, 4613(E)(1)(C), 4632, 6130(B) and
                                                              (D), 6230(C)(8), 6420, 6420(C)(5), 6620(A) and (B) and 6955(A) by
                                            $2,568,500 (for failing to report to the national market center the correct symbol indicating
Morgan Stanley
                 8/21/2006     NASD         all violations in whether the transaction was a buy, sell, sell short, sell short exempt or cross
   & Co.
                                               this report)   for transactions in eligible securities; accepting short sales and failing to
                                                              make/annotate affirmative determinations of delivery of the security; and
                                                              causing short sales to be executed at or below the price at which the last sale
                                                              was reported.


Morgan Stanley                                                Violated NYSE Rules 421 and 342(a) by submitting inaccurate short
                 8/4/2006      NYSE            $500,000
   & Co.                                                      position reports and failing to supervise short interest position reporting.


                                NYSE        $13,000,000 (for Violated NYSE Rule 440B and Regulation 10(A)-1 promulgated under the
Morgan Stanley
                 1/7/2005     Division of    all violations in Securities NYSE Act of 1934 by erroneously executing certain sell orders
   & Co.
                             Enforcement       this report)    on a minus tick for securities in which the firm held a short position.




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                                                        Violated SEC Rule 10B-10 and NASD Marketplace Rule 6130(D) and
                                                        NASD Conduct rule 3370 by failing to report to ACT the correct symbol
                                                        indicating the classification of the transaction, accepting customer short sale
Morgan Stanley
                 12/13/2004     NASD         $15,000    orders and effectuating short sales for the firm’s proprietary accounts while
   & Co.
                                                        failing to make and annotate an affirmative determination that the security
                                                        would be timely delivered or available to be borrowed by the settlement
                                                        date.

                                                        Violated SEC Rule 11AC1-4 and NASD Marketplace Rule 6130 by
Morgan Stanley
                  4/8/2002      NASD         $22,500    executing short sale transactions and failing to report each of these
   & Co.
                                                        transactions to ACT with a short sale modifier.


                                                        Violated NASD Rules 2110, 3010, and 3360 by misreporting its short
                                                        interest positions to NASD, NYSE, and AMEX causing inaccurate
                                                        information concerning such positions to be disseminated to the public and
Morgan Stanley                                          failed to timely report its discovery of such misreporting, failing to ensure
                 11/8/2000      NASD         $200,000
   & Co.                                                that newly opened accounts were excluded from its mainframe computer’s
                                                        calculation of short interest positions and failed to establish and enforce
                                                        supervisory procedures to achieve compliance with laws and regulations
                                                        concerning short interest reporting.



                                                        Violated Exchange Rule 30 during the period November 1996 through
Morgan Stanley                                          August 1998 by filing materially inaccurate reports of short interest
                 11/7/2000      AMEX         $200,000
   & Co.                                                positions with AMEX and failing to establish and enforce supervisory
                                                        procedures to ensure compliance with such regulations and laws.


                                                        Violated Exchange Rules 421, 351(A)(1), and 342 during the period
                                 NYSE                   November 1996 through August 1998 by filing materially inaccurate reports
Morgan Stanley
                 9/28/2000     Division of   $200,000   of short interest positions with the NYSE and failing to establish and
   & Co.
                              Enforcement               enforce supervisory procedures to ensure compliance with such regulations
                                                        and laws.




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                                                               Violated Exchange Rule 30 by failing to report short interest positions or by
                                                               submitting inaccurate short interest reports in preferred securities and
Morgan Stanley                                                 affiliates’ securities for a significant numbers of years until the problem was
                 10/10/2006     AMEX            $500,000
 Dean Witter                                                   corrected in February 2006. Also violated Exchange Rule 320 for failing to
                                                               establish a supervisory system and protocol that would detect such short
                                                               interest reporting problems.




                                                               Violated NYSE Rule 421 by submitting inaccurate reports of short positions
                                 NYSE
Morgan Stanley                                                 in securities listed on the NYSE and violated NYSE Rules 342(A) and (B)
                  9/1/2006     Division of      $500,000
 Dean Witter                                                   by failing to establish and maintain appropriate procedures for supervision
                              Enforcement
                                                               with respect to short interest position reporting.


                                                               Violated NASD Rules 2110, 3010 and 3360 by failing to provide indicator
                                                               of its short interest positions for NASDAQ-listed securities traded on
Morgan Stanley                                                 multiple exchanges in its reports to NASD, failing to report short positions
                 8/24/2006      NASD            $500,000
 Dean Witter                                                   in preferred securities held in accounts a the firm and for securities issued
                                                               by affiliates, and failing to have a reasonable and proper supervision process
                                                               to detect such violations.

                                                               Violated NASD Conduct Rules 2860(B)(5)(A), 3010 and 3360 by failing to
                                                               report its short interest positions to the NASD for securities, submitting
Morgan Stanley
                 3/18/2002      NASD            $25,000        short interest position reports that included inaccurate short interest data and
 Dean Witter
                                                               by failing to have a supervisory system in place to achieve compliance with
                                                               the laws and regulations concerning short interest reporting.


                                                               Violated SEC Rule 10B-10) and NASD Rule 3370 by accepting a customer
                                             $1,289,000 (for
Morgan Stanley                                                 short sale and effecting short sales for the firm’s proprietary account while
                 8/21/2006      NASD         all violations in
 Dean Witter                                                   failing to make an affirmative determination that the firm would receive
                                                this report)
                                                               delivery or could borrow the security for delivery by the settlement date.




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                                       $13,000,000 (for Violated NYSE Rule 440B and Regulation 10(A)-1 promulgated under the
Morgan Stanley
                   1/7/2005    NYSE     all violations in Securities Exchange Act of 1934 by erroneously executing certain sell
 Dean Witter
                                           this report)   orders on a minus tick for securities in which the firm held a short position.

                                                          The firm executed short sale orders and failed to properly mark the order
UBS Financial                                             tickets as short for the orders and failed to make a determination that the
                  2/26/2008    FINRA     $110,000.00
 Services Inc.                                            firm could actually borrow such security on behalf of the customer for
                                                          delivery.

                                                          Firms supervisory system did not provide for supervision reasonably
UBS Financial
                  10/14/2003   NASD       $5,000.00       designed to achieve compliance with respect to short sales transaction
 Services Inc.
                                                          reported to act on its behalf.

                                                      UBS's Reg SHO supervisory system regarding locates and the marking of
                                                      sale orders was significantly flawed and resulted in a systematic supervisory
                                                      failure that contributed to serious Reg SHO failures across its equities
                                                      trading business. First, FINRA found that USB placed millions of short sale
                                                      orders tot eh market without locates, including in securities that were known
                                                      to be hard to borrow. Second, FINRA found that UBS mismarked orders
                                                      were short sales that were mismarked as "long," resulting in additional
UBS Securities,                                       significant violations of Reg SHO's locate requirement. Third, FINRA
                  2007-2008    FINRA   $12,000,000.00
    LLC                                               found that UBS had significant deficiencies related to its aggregation unit
                                                      that may have contributed to additional significant order-marking and locate
                                                      violations. The firm violated Reg SHO and it has mismarked more than 10
                                                      million sale orders including short sales mismarked as lons that also
                                                      violated Reg SHO locate requirement. UBS' supervisory framework over its
                                                      equities trading business was not reasonably designed to achieve
                                                      compliance with the requirements of Reg SHO and other securities laws,
                                                      rules and regulations until at least 2009.


                                                          Submitted reports to OATS that contained inaccurate, incomplete or
UBS Securities,
                   3/1/2007    NASD      $65,000.00       improperly formatted data, and erroneously submitted execution reports it
    LLC
                                                          routed away for handling and/or execution to OATS.

UBS Securities,
                  10/1/2004    NASD      $10,000.00       Submitting inaccurate and/or incomplete OATS data.
    LLC



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                                                             Failed to report FINRA/NASDA trade reporting facility the correct symbol
 UBS Services
                   1/20/2010     FINRA        $60,000.00     indicating whether transactions were buy, sell, or sell short or cross for
  USA LLC
                                                             transactions in reportable securities.

 UBS Services                  NASDA stock                   Failed to correctly indicate whether orders were a buy, short sale or long
                   1/20/2010                  $5,000.00
  USA LLC                        market                      sale.

                                                             Accepted customer short sale orders in certain securities and for, each order
                                                             failed to make an affirmative determination that the firm would receive
                                                             delivery of the security on behalf of the customer or that the firm could
 UBS Services                                                borrow the security on behalf of the customerfor delivery by the settlement
                   6/26/2008     FINRA       $116,000.00
  USA LLC                                                    date. In addition, the firm affected short sale orders in cetain securities and
                                                             for itself, and for each order failed to make an affirmative determination that
                                                             the firm would receive delivery of the security or could borrow the security
                                                             by the settlement date.


                                                             The firm executed short sale transactions and failed to report these
                                                             transactions with a short sale modifier. Firm also incorectly labeled and
 UBS Services
                   7/2/2003      NASD         $2,000.00      reported long sale transactions as short sales. The firm also failed to report
  USA LLC
                                                             to ACT the correct symbol indicating whether the transactions were a buy,
                                                             sell, sell short, sell short exempt, or cross for several transactions.



                                                             The firm had a fail to deliver position at registered clearing agency in an
                                                             equity security that resulted from a short sale, and failed to immediately
                                                             thereafter close out the fail to deliver positions by purchasing securities of
                                                             like kind and quantity no later than the begining of regular trading hours on
                                                             the next consecutive settlement date following the settlement dates for the
UBS Financial
                   6/1/2012      FINRA       $167,500.00     short sale transaction. The firm transmitted reports to the order audit trail
 Services Inc.
                                                             system (OATS) that contained inaccurate buy/sell order designations. The
                                                             firm failed to report to the over-the-counter (OTC) reporting facility the
                                                             correct symbol indicating whether a transaction was a buy, sell, sell short, or
                                                             cross for transaction in reportable securities. SEC rules 204T (A),204T
                                                             (A)(1) of regulation SHO, NASD rules 6130(D)(6), 6955(A) were violated.


                                                             Reported short sales as long sales on their blue sheets and for other various
Barclays Capital   6/1/2014      FINRA       $1,000,000.00
                                                             reporting violations


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                                                     Violated Reg SHO by failing to supervise short sale and mis-marking sale
                                                     orders. From June 2006 through December 2010, the firm's Reg SHO
                                                     supervisory system regarding locates and the marking of sale orders were
                                                     flawed and resulted in a systematic supervisory failure that contributed to
                                                     significant Reg SHO failures across its equities trading business. During that
Credit Suisse                                        time period, the firm released millions of short sales orders to the market
                1/5/2017   FINRA     $1,750,000.00
 Securities                                          without locates, including threshold and hard to borrow securities. The
                                                     locate violations extended to numerous trading sytems, aggregation units
                                                     and strategies. In addition, the firm mismarked tens of thousands of sale
                                                     orders in its trading system. The msmarked orders included short sales that
                                                     were mismarked as "long," resulting in additional violations of Reg SGO's
                                                     locate requirement.




                                                     The firm improperly relied on a "net" position of total shares which
                                                     included shares supposedly held by international affiliates. This "net"
Deutche Bank    7/9/1905   FINRA     $1,400,000.00
                                                     aggregate position was then used to justify locates provided to customers
                                                     and its own brokers.




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                                                   The firm failed to properly mark 19,318,195 sell orders as short between
                                                   October 19, 2011 to January 27, 2012 (approximately 3 months). This
J.P. Morgan   7/9/1905   FINRA       $350,000.00   number is symbolic of the magnitude of the problem. Additionally, the firm
                                                   on 21,217 occasions affected short sales on its own account without
                                                   obtaining a locate.




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